Case 2:25-cv-01963-MEF-MAH   Document 235    Filed 05/07/25   Page 1 of 31 PageID:
                                   2229


                                            LAWRENCE L. CRAWFORD AKA
                                 JONAH GABRIEL JAHJAH T. TISHBITE

                                            #300839 F3B. RM. 148
                                            EVANS C.I. 610 HWY. 9 WEST

       ?^-^A          7^                    BENNETTSVILLE/ S.C. 29512




  IK1 RE: FILING DOCUMENT(S) WITHIN CASE 1 : 25-CV-01963-MEF FOR THE
  PURPOSE OF SEEKING TO INTERVENE IN THAT CASE (MAHMOUD KHALIL) AND
  FILING THEM IN CASE 2:24-CV-03934-MEF-JBC FOR THE PURPOSE OF

  SEEKING TO CONSOLIDATE BOTH CASES.




          TO: THE NEW JERSEY DISTRICT COURT CLERK/


              THE ATTACHED DOCUMENT IS TO BE FILED WITHIN BOTH CASES
  CAPTIONSD ABOVE FOR THE PURPOSE OB' MOTIONING TO INTERVENE IN THE

  MAHMOUD KHALIL CASE CAPTIONED ABOVE; THEREUPON SEEKING TO FILE
  MOTION TO CONSOLIDATE BOTH CASES. THE ATTACHMENTS REFERRED TO

  WITHIN THE [29] PAGE DOCUMENT IS FORTHCOMING. I THANK YOU IN
  ADVANCE. STILL REMAIN/




                                        RESPECTFULLY/
                                        JONAH THE TISHBITE




  APRIL 30, 2025
Case 2:25-cv-01963-MEF-MAH    Document 235    Filed 05/07/25   Page 2 of 31 PageID:
                                    2230
                    IN THE UNITED STATES DISTRICT COURT
                       IN THE DISTRICT OF NEW JERSEY

                             IN THE NEWARK DIVISION
                                       )
  LAWRENCE! L. CRAWFORD AKA
                                       )
  JONAH GABRIEL JAHJAH T.                    C/A l:25-cv"01963-MEr;
  TISHBITE ET. AL./                              2:24-cv-03934-MEF-JBC



        PLAINTI-'FS-INTERVENOR




  MAHMOUD KHALIL/


                PLAINTIFF




  Vs.                                           AFFIFAVIT OF SERVICE




  WILLIAM P. JO^CfS/




                RESPONDBHT




         WS/ LAWRENCE L. CRAWFORD AKA JONAH GABRIEL JAHJAH T.
  TISHBITE ET AL / DO HEREBY CERTIFY/ THAT WE HAVE MAILED AND OR

  SERVED A COPY OF AN AFFIDAVIT OF FACTS GIVING JUDICIAL NOTICE:
  MOTION TO INTERVENE- IN CASE 1:25-cv-Ol963-MEF; MOTION FOR COMPLEX

  CASE DESIGNATION; MOTION TO CONSOLIDATE BOTH CASES
  l:25-cv-01963~MEF WITH 2:24-CV-03934-MEF-JBC; MOTION FOR

  PRELIMINARY INJUNCTION; MOTION TO ADVANCE THE CAUSE AND MOTION TO
  MOTION THEREFOR/ ON THE NEW JERSEY DISTRICT COURT/ NEWARK

  DIVISION/ AND ALL INVOLVED PARTIES/ BY U.S. MAIL/ POSTAGE
  PRSPAID/ BY DEPOS1-TXNG XT WITH IT3 ATTACHMENTS IN THS XNSYITUTIGN
                                   l-of-29
Case 2:25-cv-01963-MEF-MAH   Document 235   Filed 05/07/25   Page 3 of 31 PageID:
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  MAILBOX ON APRIL 28, 2025. IT IS DEEMED FILED ON THAT DATE/

  HOUSTON ^ ..LACK/ 287 U.S. 266, 273-76, 108 S.Cfc. 2379(U.S.1988 ).




                                                RESPECTFULLY/
                                                JONAH THE TISHBITE




  APRIL 28, 2025




                                    2"o£-29
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                     IN THE UNITED STATES DISTRICT COURT
                        IN THE DISTRICT OF NEW JERSEY

                             IN THE NEWARK DIVISION

   LAWRENCE L. CRAWFORD AKA             )
  JONAH GABRIEL J'AHJAH- T.                  C/A l:25-cv"01963-MEF;

   TISHBITE ET. AL./                              2:24-cv-03934-MEF-JBC



         PLAINTIFFS-INTERVENOR



                                             AFFIDAVIT OF FACTS GIVING
   MAHMOUD KHALIL/                           JUDICIAL NOTICE; MOTION TO
                                             INTERVENE IN CASE 1:25-cv-

                 PLAINTIFF                   01963-MEF; MOTION FOR COMPLEX

                                             CASE DESIGNATION; MOTION TO
                                             CONSOLIDATE BOTH CASES 1:25-cv
                                             •01963-MEF WITH 2:24"cv-03934-

   Vs.                                       MEF-JBC; MOTION FOR A PRELI-

                                             MINARY INJUNCTION; MOTION TO
                                             ADVANCE THE CAUSE AND MOTION

   WILLIAM P. JOYCE/                         TO MOTION THEREFOR




                 RESPONDENT




                                        5

  IN RE: CASE(S) (THE MAHMOUD KHALIL CASE); 2:24-CV-03934-MEF-JBC
 FTHE CRAWFORD FAMILY CASE) MOTIONING TO INTERVENE IN CASE
  1:25-cv-01963-MEF AND TO CONSOLIDATE BOTH CASES.




         TO: THE NEW JERSEY DISTRICT COURT/

              THE HONORABLE JUDGE MICHAEL E. FARBIARZ ET. AL./


              HERE THE NEW JERSEY DISTRICT COURT AND ALL PARTIES
 WILL FIND:

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               <? (1) A COPY OF THE AFFIDAVIT OF FACTS GIVING
  JUDICIAL NOTICE; MOTION TO FILE OBJECTIONS TO MAGISTRATE JUDGE'S
  TEXT ORDER****/ [70] PAGES DATED OCTOBER I/ 2024 THAT IS FILED
  BEFORE THE OHIO DISTRICT COURT AND OTHER INVOLVED FEDERAL CASES.


                G> (2) A COPY OF THE AFFIDAVIT OF FACTS GIVING
  JUDICIAL NOTICE; MOTION TO FILE OBJECTIONS TO MAGISTRATE
  ORDER*****/ [40] PAGES DATED NOVEMBER 22, 2024 THAT IS FILED

  BEFORE THE OHIO DISTRICT COURT AND OTHER INVOLVED FEDERAL CASES.



                0 (3) A COPY OF THE ISRAELI INJUNCTION DOCUMENT/
   [13] PAGES DATED OCTOBER 21, 2024 THAT IS FILED BEFORE THE OHIO
  DISTRICT COURT AND ALL OTHER INVOLVED FEDERAL CASES.


                * (4) A COPY OF THE AFFIDAVIT OF FACTS GIVING
  JUDICIAL NOTICE; MOTION TO FILE APPEAL UNDER*****/[24] PAGES

  DATED FEBRUARY 4/ 2026 FILED WITHIN THE OHIO DISTRICT COURT. THIS
  DOCUMENT IS NOW FILED WITHIN THE TWO CASES CAPTIONED ABOVE FOR

  THE PURPOSE OF MOTIONING TO FILE IN FORMA PAUPERIS PURSUANT TO
  ANY ALLEGED 3 STRIKE PROVISION THOUGH THE CONSTITUTIONALITY OF

  THE 1996 CLINTON BILL WITH ITS 3 STRIKE/ PLRA/ AEDPA/ MINIMUM AND
  MAXIMUM SENTENCING GUIDELINES ARE BEING CALLED INTO QUESTION
  WITHIN THE CRAWFORD FAMILY CASE. 6 MONTH FINANCIAL STATEMENT IS

  ALSO ATTACHED.


                 •to (5) A COPY OF THE AFFIDAVIT OF FACTS GIVING

  JUDICIAL NOTICE; MOTION TO VACATE THE ORDER(S) FILED MARCH 10,
  2025 FILED UNDER CASE 9:24~cv-04660-BHH~MCH AND ITS SISTER CASES
  WITHIN THE SOUTH CAROLINA DISTRICT COURT.


                 0 (6) A COPY OF THE AFFIDAVIT OF FACTS GIVING
  JUDICIAL NOTICE; MOTION TO VACATE ORDER DENYING FILING IN FORMA
  PAUPERIS****/ [18] PAGES DATED APRIL 21, 2025 FILED WITHIN THE

  GEORGIA DISTRICT COURT.


                 ^ (7) A COPY OF THE AFFIDAVIT OF FACTS GIVING


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    JUDICIAL NOTICE; MOTION TO AMEND NOTICE ON APPEAL;****/ [40]
    PAGES DATED MARCH 14, 2025 FILED BEFORE THE OHIO DISTRICT COURT
    AND OTHER INVOLVED FEDERAL CASES.


                  0 ( 8) A COPY OB* THE AFFIDAVIT OF FACTS GIVING
    JUDICIAL NOTICE; MOTION TO INTERVENE AND MOTION TO MOTION/ [133
    PAGES DATED MARCH 3/ 2025 THAT IS FILED UNDER CASE 1:26-CV-OQ403
    WITHIN THE WASHINGTON D.C. DISTRICT COURT.



                  ^ (9) A COPY OF THE AFFIDAVIT OF FACTS GIVING
    JUDICIAL NOTICE; MOTION TO VACATE THE ORDER ISSUED ON APRIL 18,
    2025 FILED UNDER CASE 2:24-CV-00659-PD IN THE PHILADELPHIA

    DISTRICT COURT.


            INSOMUCH/ THESE DOCUMENTS ARE FILED AS ADDITIONAL EVIDENCE

    TO ESTABLISH THE EXTRA TERRITORIAL CONSPIRACY GOING ON WITH THESE
    CASES AROUND THE NATION FOR OVER 18+ YEARS AND COUNTING. THEY ARE
    BEING FILED TO ESTABLISH THE CRAWFORD RIGHT TO INTERVENE IN CASE
    3:25-cv-01963-^EF AND TO MOTION TO CONSOLIDATE BOTH CASES. ALL

    CLAIMS/ ISSUES DEFENSES THAT ARE ARGUED WITHIN THESE ATTACHMENTS

    ARE NOW ARGUESD WITHIN CASE(S) 3:24-CV-01963-MEF AND

    2:24-cv-03934-MEF. IT APPEARS THAT THE HONORABLE JUDGE MICHAEL E.

    FARBIARZ IS THE FEDERAL JUDGE PRESIDING OVER BOTH THE CASES
    INVOLVED? THEREFORE/ UNDER THE CIRCUMSTANCES PRESENTED. IT WOULD

    BE APPROPRIATE NOT TO JUST ALLOW THE INTERVENTION/ BUT TO ALSO
    GRANT THE MOTION TO CONSOLIDATE THESE TWO CASES SINCE THE MATTER
    OF THS PRO PALESTINIAN PROTESTORS CASES AND ISSUES/ WHICH

    DIRECTLY TIE TO MAHl^OUD KHALIL/ WERE ALREADY BEFORE THE NEWARK
    DISTRICT COURT UNDER CASE 2:24-CV-03934-MEF. THE PLAINTIFF/
    CRAWFORD/ MOTIONS TO INTERVENE IN THE MAHMOUD KHALIL CASE AND
    MOTION TO CONSOLIDATE BOTH CASES FOR EXPEDITIOUS JUDICIAL REVIEW.


            THE PLAINTIFF-INTERVENOR MOTIONS TO CONSOLIDATE BOTH CASES
    3:25~cv"01963-MEF AND 2:24-cv-03934-~MEF. RULE 42 PROVIDES: IF

    ACTION(S) BEFORE THE COURT INVOLVES COMMON QUESTIONS OF LAW AND
    FACT (ESTABLISHING IMMUNITY FOR THE PRO PALESTINIAN PROTESTORS AS
    BENEFICIARIES OF THE CESTUI QUE TRUST AND SEEKING OF PRELIMINARY

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   INJUNCTION AGAINST CRAWFORD* S HOME STATE OP ISRAEL UNDER THE
   STATE SPONSORED TERRORISM EXCEPTION OF THE F.S.I.A.)/ THE COURT
   MAY (1) JOIN FOR HEARING OR TRIAL ANY AND ALL MATTERS AT ISSUE IN
   THE ACTIONS; (2) CONSOLIDATE THE ACTIONS; OR (3) ISSUE ANY OTHER
   ORDERS (ie. PRELIMINARY INJUNCTION TO ESTABLISH COMMERCIAL AND
   ARMS EMBARGO AGAINST CRAWFORD'S HOME STATE OF ISRAEL FOR BREACH
   OF CONTRACT/ COVENANT) TO AVOID UNNECESSARY COST OR DELAY AND TO
   PREVENT ANY FURTHER IRREPARABLE HARM/ DEATH/ DESTRUCTION/ MAYHEM/

   ACTS OF STATE SPONSORED TERRORISM AND OR CRIMES AGAINST HUMANITY
   HEAPED UPON THE PALESTINIAN PEOPLE SUCH AS THOSE DONE . BY THE

   ELECTRONIC DEVICE DETONATIONS DONE WITHIN LEBANON AND WEST BANK.

   THE THRONE OF ISRAEL BELONGS TO THE FIDUCIARY HEIR/ KING AND HIGH

   PRIEST OF THE ONE TRUE GOD/ THE BRANCH OF JEWISH PROPHESY SEEN IN

   THE BOOK OF ZECHARIAH 6:12-13 (BY COVENANT/CONTRACT5 WITH LEGAL
   DUTY AND OBLIGATION TO HALT THE INJUSTICE THAT DIRECTLY BARE .ON
   ALL PRO PALESTINIAN PROTESTORS AROUND THE WORLD DIRECTLY AIDED BY
   THE UNITED STATES GOVERNMENT/ FERRING PHARMACEUTICALS/ INC. V.

   WATSON PHARMACEUTICALS/ INC./ 765 F.3d. 205 (3rd.Cir.2014);

   COCHLEAR LTD. V. OTICON MEDICAL AB/ 2018 WL 5307822
   (D.N.J.2018)(PRELIMINARY INJUNCTION IS IN THE PUBLIC'S INTEREST
   AND THE BALANCE OF EQUITIES TIP IN FAVOR OF THE GRANTING). RIGHTS
   OF RES JUDICATA AND COLLATERAL ESTOPPEL EMERGING FROM THE
   JEREMIAH MACKEY JR CASE 2023TRD112393 OUT OP THE FRANKIN COUNTY
   MUNICIPAL COURT AND CRAWFORD STATE CASES RELIED UPON AND RIGHTS
   OF CONTRACT/ COVENANT PROTECTED BY ARTICLE 1 § 10 OF THE U.S.

   CONSTITUTION PRODUCE LIKELIHOOD OP SUCCESS AS WELL AS BY RIGHTS
   UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT/ BEBERMAN V. UNITED

   STATES DEPARTMENT OF STATE/ 675 Fed. Appx' 131 (3rd.Cir.2017);

   JOSEPH JINGOLI & SON/ INC. v. BEAL/ 2023 WL 8933505 (D.N.J.2023);
   ZIVOTOFSKY EX REL ZIVOTOFSKY v. KERRY/ 576 U.S. 1 (U. £..2015). THE
   PURPOSE OF THE PRELIMINARY INJUNCTION IN THIS INSTANCE IS MERELY
   TO PRESERVE THE PARTIES RELATIVE POSITION UNTIL TRIAL ON THE
   MERITS CAN BE HEARD/ DELAWARE STATE SPORTSMEN'S ASSOCIATION/ INC.

   V. DELAWARE DEPT. OF SAFETY & HOMELAND SECURITY/ 108 F.4TH. 194
   (3rd.Cir.2024); SCOTT v. AGULERI/ 2026 WL 8233946 (E.D.Pa.2025);

   NEW JERSEY STAFFING ALLIANCE V. FAIS/ 751 P.Supp.3d. 419

    (D.N.J.2024).


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          THERE HAS BEEN NO RESOLUTION OF BOTH CASES INVOLVED AND
  THE CRAWFORD MOTION TO INTERVENE WITHIN THE MAHMOUD KHALIL CASE

  DUE TO THE COMMON QUESTION OF LAW AND FACT/ AND DUE TO THE CASE
  RECENTLY BEING ESTABLISHED IS TIMELY MADE BY THE FIDUCIARY HEIR/

  KING/ KHALIFAH/ IMAM AND NAZARITE HIGH PRZEST OF THE ONE TRUE

  GOD/ THE DIRECT HEIR AND KING OF THE THRONE OF ISRAEL ESTABLISHED
  BY "CONTRACT"/ BY "COVENANT" THAT CANNOT BE MADE OR UNMADE BY THE

  COURTS. THE MAHMOUD KHALIL CASE INVOLVES IDENTICAL PARTIES AS IS

  SOUGHT RELIEF IN THE CRAWPORD FAMILY CASE WHICH IS FILED BEFORE
  THE MAHMOUD KHALIL CASE TO ESTABLISH IMMUNITY FOR THE PRO

  PALESTINIAN PROTESTORS WHO ARE ALL 3/ MUSLIM/ CHRISTIAN AND JEW
  WHO SPOKE OUT AGAINST THE ACTS OF TYRANNY/ OPPRESSION AND
  INJUSTICES DONE BY CRAWFORD ' S HOME STATE OF ISRAEL/ COMMON

  QUESTIONS OF LAW AND FACT THAT WOULD WARRANT THE CONSOLIDATION
  WHICH IS ALSO BASED UPON RIGHTS/ PRIVILEGES AND IMMUNITIES SOUGHT

  EXERCISED PURSUANT TO THE FOREIGN SOVEREIGN IMMUNITY ACT. TO DENY

  THIS RIGHT WOULD CONSTITUTE A DENIAL OF PROTECTIONS ESTABLISHED
  UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT MAKING THE DENIAL
  IMMEDIATELY APPEALABLS/ IN RE: TERRORIST ATTACKS ON SEPTEMBER 11,

  2001, 117 F.4TH. 13 (2nd/Cir.2024); JAYE OAK KNOLL VILLAGE

  CONDOMINIUM OWNERS ASSOCIATION/ INC./ 782 Fed. Appx' 197

  (3rd.Cir.2019); CUTLER v. AMBER GREEN/ 754 Fed. Appx' 96
  (3rct.Cir.2018). ALTHOUGH A CONSOLIDATED PROCEEDINGS BY RULE WHICH

  ALLOWS THE CONSOLIDATION OF ACTIONS INVOLVING COMMON QUESTIONS OF
  LAW AND FACT/ ONE OR MANY OR ALL PHASES OF THE SEVERAL ACTIONS
  MAY BE MERGED/ BUT MERGER IS NEVER SO COMPLETE IN CONSOLIDATION

  AS TO DEPRIVE ANY PARTY OF A SUBSTANTIAL RIGHT WHICH HE MAY HAVE
  POSSESSED HAD THE ACTION PROCEEDED SEPARATELY; THUS/ SEPARATE

  VERDICTS AND JUDGMENTS ARE NORMALLY NECESSARY WHICH ILLUSTRATE
  THAT THERE WOULD BE NO PREJUDICE EXPERIENCED BY NAHMOUD KHALIL/
  HIS ATTORNEYS OR THE OTHER EXISTING PARTIES TO THE ACTIONS IF

  CONSOLIDATION OCCURS. THEREFORE/ THE PLAINTIFF/ CRAWFORD/ MOTIONS
  FOR CONSOLIDATION OF BOTH THE CASES INVOLVED/ HALL v. HALL/ 584

  U.S. 59, 138 S.Ct. 1118/ 200 L.Ed.2<3. 399(U.S . 2018 } ; ABBOTT
  LABORATORIES V. FEINBERG/ 2023 WL 19076/ * 1+ (2nd.Cir.2023);

  BOYNES V. LIMETREE BAY VENTURES/ LLC./ Fed. Supp./ 2024 WL 898245

  (V.I.2024); POCHE v. WELLS FARGO N.A-/ 256 F.Supp.3d. 540

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  (D.N.J.2017); CITIZEN BANK N.A. V. MULYE/ 2024 WL 4913949
  (D.N.J.2024); SMITH V. HILLSIDE VILLAGE/ 279 F.Supp.3d* 537
  (D.N.J.2017).



         .THE STANDARD TO INTERVENE AS A MATTER OF RIGHT IS LENIENT.
  AN INTERVENOR DOES NOT NEED THE SAME STANDING TO INTERVENE AS IS
  REQUIRED TO INITIATE A SUIT. AN INTERVENOR NEED NOT HAVE SPECIFIC

  EQUITABLE INTEREST TO QUALIFY FOR INTERVENTION AS A MATTER OF
  RIGHT/ THOUGH SPECIFIC AND LEGAL EQUITABLE INTEREST AND COMMON

  QUESTIONS OF LAW AND FACT DO EXIST IN THIS CASE/ CRAWFORD BEING

  THE FIDUCIARY HEIR/ KING/ KHALIPAH/ IMAM AND NAZARITE HIGH PRIEST

  OF THE ONE TRUE GOD AND MAHMOUD KHALIL BEING A BENEFICIARY OF THE
  CESTUI QUE TRUST AS ARGUED/ ESTABLISHED BY "CONTRACT"/ BY

  "COVENANT" WITH DIRECT AND THIRD PARTY OBLIGATION TO PROTECT EACH
  OTHER AND TO PROTECT THE TERMS OF THE "GRANT" AND THE LAWS OF THE

  ONE TRUE GOD OF ABRAHAM/ ISSAC/ JACOB/ KINGS DAVID AND SOLOMON/

  OF CHRIST AND THE PROPHET MUHAMMAD (PBUT)/ THE SEEKING OF
  REPARATIONS FOR THE TRANS-ATLANTIC SLAVE TRADE AND OTHER INTEREST

  ARGUED WITHIN THE INITIAL COMPLAINT AND ATTACHMENTS FILED WITH
  THIS DOCUMENT. THE DENIAL OF INTERVENTION AS A MATTER OF RIGHT

  WOULD BE AN ABUSE OF DISCRETION/ A VIOLATION OF DUE PROCESS/ BE
  UNCONSTITUTIONAL VOIDING THE COURT'S JURISDICTION UNDER THE

  CONSTITUTIONAL PRONG AND OR ELEMENT TO SUBJECT MATTER

  JURISDICTION/ ZEEB HOLDINGS/ LLC. V. JOHNSON/ 338 F.R.D. 373
  (N.D.Ohio.2021); SPARKS v. FITZHUGH/ 2023 WL 3611462/ * 3+

  (N.D.Ohio.2023); UNITED STATES v. MICHIGAN/ 68 F.4TH. 1021
  (6th.Cir.2023); NORTH CAROLINA STATE CONFERENCE OF NAACP v.

  BERGER/ 970 F.3d. 489(4th.Cir.20205; IN RE: CIGAR ASSOCIATION OF
  AMERICA/ 812 Fed. Appx' 128 (4th.Cir.2020); ALT. v. U.S. E.P.A./

  768 P.3d. 588 (4th.Cir.2014); DEPARTMENT OF NATURAL RESOURCES &

  ENVIRONMENTAL CONTROL V. MOUNTAIRE FARMS OF DELAWARE/ INC-/ 375

  F.Supp.3d. 522 (D.Del.2019); STATE FARM MUTUAL AUTOMOTIVE

  INSURANCE COMPANY v. DABBENE/ 511 F.Supp.Sd. 600 (E.D.Pa.2021);
  WAYNE LAND AND MINERAL GROUP/ LLC. v. DELAWARE RIVER BASIN

  COMMISSION/ 959 F.3d. 569 (3rd.Cir.2020).


          FEDERAL RULES OF CIVIL PROCEDURE/ RULE 24(a)(1)(2)

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  PROVIDES:


               INTERVENTION OF RIGHT. ON TIMELY MOTION/ THE COURT
  "MUST" PERMIT ANYONE TO INTERVENE WHO (1) IS GIVEN AN
  UNCONDITIONAL RIGHT TO INTERVENE BY FEDERAL STATUTE (IN THIS CASE
  THE FOREIGN SOVEREIGN IMMUNITY ACT) ; OR (2) CLAIMS AN INTEREST
  RELATED TO THE PROPERTY OR TRANSACTION THAT IS THE SUBJECT OF THE
  ACTION/ AND IS SO SITUATED THAT DISPOSING OF THE ACTION MAY AS A
  PRACTICAL MATTER IMPAIR OR IMPEDE THE MOVANT*S ABILITY TO PROTECT

  THAT INTEREST/ UNLESS EXISTING PARTIES ADEQUATELY REPRESENT THAT
  INTEREST. NONE OF THE EXISTING PARTIES IN THE MAHMOUD KHALIL CASE

  ADEQUATELY REPRESENT THE .ACQUIRED INTEREST OF THE FIDUCIARY KING/

  KHALIFAH/ IMAM AND NAZARITE HIGH PRIEST/ A MEMBER OF THE SOLE

  CORPORATION AND FOREIGN SOVEREIGN CROWN WHO IS BOUND BY
  "CONTRACT"/ BY "COVENANT" TO PROTECT THE BENEFICIARIES OF THE

  CESTUI QUE TRUST. THE FACT THAT MAHMOUD KHALLIL HAS BEEN UNJUSTLY

  TARGETED BY THE TRUMP ADMINISTRATION/ THEY TAKING ACTION AGAINST

  HIM WITHOUT THE CONSENT OF THE FIDUCIARY HEIR/ KING/ KHALIFAH/
  ESTABLISHES INJURY AND BURDENING OF THE CONTRACTUAL OBLIGATION*

  ARTICLE III STANDING TO INTERVENE IS ESTABLISHED/ AETNA INC. v.

  INSYS THERAPEUTICS/ INC./ 330 F.R.D. 427 (E.D.Pa.2019); TOWN OF
  CHESTER/ N.Y. V. LARGE ESTATES/ INC. 581 U.S. 433, 137 S.Ct.

  1645(U.S.2017. THE GRANTING OF INTERVENTION IS MANDATED IN THIS

  CASE AS DUE PROCESS LAW WOULD REQUIRE FOR THE SAKE OF "JUSTICE
  AND FAIRNESS".


          THE PLAINTIFF(S) WANT TO BRING THE COURT'S ATTENTION TO
  THE ATTACHED DOCUMENT ENTITLED/ "AFFIDAVIT OF FACTS GIVING

  JUDICIAL NOTICE; MOTION TO INTERVENE AND MOTION TO MOTION
  THEREFOR"/ [13] PAGES DATED MARCH 3/ 2025 THAT WAS FILED BEFORE
  THE WASHINGTON/ D.C. DISTRICT COURT UNDER CASE 1:26-CV-00403.
  SINCE WHEN IS A LEGAL ACTION FILED TO ESTABLISH "FOREIGN EMBASSY"

  STATUS TO EVERY CHURCH/ MOSQUE AND SYNAGOGUE AROUND THE WORLD TO
  PREVENT GLOBAL NATIONS FROM ENCROACHING UPON THEM FOR NEFARIOUS

  REASONS TO BE CONSIDERED SOME STUPID/ FRIVOLOUS/ "SOVEREIGN

  CITIZEN" CLAIM? PLEASE TAKE NOTICE OF THE DOCUMENT ENTITLED/

   "AFFIDAVIT OF FACTS GIVING JUDICIAL NOTICE; MOTION TO VACATE THE

  ORDER ISSUED FILED APRIL 18, 2025 CHALLENGING THE PHILADELPHIA

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   DISTRICT COURT'S JURISDICTION****" / [20] PAGES DATED APRIL 23,
   2025. WITHIN THIS DOCUMENT IT HIGHLIGHTS THE DISTINCTION BETWEEN
   A "SOVEREIGN CITIZEN CLAIM" AND A "FOREIGN SOVEREIGN IMMUNITY ACT

   CLAIM". THE KEY WORD IN "SOVEREIGN CITIZEN" IS THE WORD

   "CITIZEN". YOU CANMOT NATURAL IZE BY THE 14TH. AMENDMENT STOLEN

   FOREIGN SOVEREIGN ETHIOPIAN AFRICAN KINGS WITH DIRECT TIES TO THE
   THRONE OF ISRAEL AND THE ISLAMIC KHALIFATE. AFRICAN SLAVES BECAME
   ENSLAVED BY THE UNITED STATES/ ILLEGALLY TAKEN FROM AFRICAN SOIL/

   FOREIGN SOIL IN VIOLATION OF THE F.S.I.A. IN ABOUT 1619 AND WAS A

   COMMERCIAL ACT SUPPORTED BY THE UNITED STATES GOVERNMENT GIVING
   RISE UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT'S EXPROPRIATION/

   COMMERCIAL AND STATE SPONSORED TERRORISM EXCEPTIONS TO IMMUNITY
   UNDER THE F.S.I.A.. IT WASN'T UNTIL 1868 THAT MY AFRICAN/ JEWISH/
   ARAB FOREFATHERS WERE EVEN CONSIDERED AS CITIZENS BEING ABOUT 250
   YEARS A "ILLEGALLY ROBBED OF THEIR STATEHOOD" PEOPLE. THERE IS NO

   CONGRESSIONAL LEGISLATIVE ENACTMENT THAT ESTABLISH RIGHTS AS A
   "SOVEREIGN CITIZSN". THERE IS A CONGRESSIONAL LEGISLATIVE

   ENACTMENT THAT ESTABLISH RIGHTS UNDER THE FOREIGN SOVEREIGN

   IMMUNITY ACT. THERE IS NO CONGRESSIONAL ENACTMENT THAT STATS THAT
   YOU CAN NATURALIZE BY THE 14TH. AMENDMENT THE STOLEN FOREIGN
   SOVEREIGN AFRICAN ETHIOPIAN KINGS OR THEIR STOLEN OFFSPRING TAKEN
   VIA THE TRANS-ATLANTIC SLAVE TRADE. THUS/ ANY CLAIM BY ANY COURT

   THAT THE COMPLAINT IS INCOMPREHENSIBLE IS MISGUIDED/ AN ABUSE OF

   DISCRETION AND AN ACT OP FRAUD UPON THE COURT DESIGNED TO CONCEAL
   MATERIAL FACTS IN VIOLATION OF 18 U.S.C. § 1001, EIE GUAM V. LONG

   TERM CREDIT BANK/ JAPAN/ 322 F.3d. 635(9th.Cir.2003); ZIVOLTOFSKY

   EX REL ZIVOTOFSKY V. KERRY SUPRA.; SEMINOLE TRIBE OF FLORIDA V.

   FLORIDA/ 517 U.S. 44, 116 S.Ct. 114(U.S.1996); ALDEN V. MAINE,
   527 U.S. 706, 119 S.Ct. 2240, 114 L.Ed.2d. 636(U.S.1999); U.S. v.

   WONG KIM ARK/ 169 U.S. 649, 18 S.Cfc. 456, 42 L.Ed.2d.

   890(U.S.1898); REYNOLDS v. UNITED STATES/ 2024 WL 3925945

   (N.D.Ohio.2024); WORLEY v. ISLAMIC REPUBLIC OF IRAN/ 75

   F.Supp.3d. 311 (D.D.C.2014); ROTH v. ISLAMIC REPUBLIC OF IRAN/ 78
   F.Supp.Sd. 379(D.D.C.2015).



          THE CLEAR DISTINCTION BETWEEN AFRICAN AMERICANS AS
   IMMIGRANTS AND NORMAL IMMIGRANTS IS THAT WHILE BOTH GROUPS A


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  FORCED OR VOLUNTARY MIGRATION/ THE CIRCUMSTANCES/ LEGAL STATUS,

  AND TREATMENT OF ENSLAVED AFRICANS WERE FUNDAMENTALLY DIFFERENT

  FROM OTHER IMMIGRANT GROUPS. KEY DIFFERENCES: FORCED vs.
  VOLUNTARY MIGRATION: ENSLAVED AFRICANS WERE FORCIBLY REMOVED FROM
  THEIR HOMES AND FAMILIES/ WHILE OTHER IMMIGRANTS TYPICALLY CHOSE
  TO MOVE TO AMERICA FOR ECONOMIC/ SOCIAL/ OR POLITICAL REASONS.

  LEGAL STATUS: ENSLAVED AFRICANS WERE CONSIDERED AS PROPERTY/ NOT
  PEOPLE/ NOT "CITIZENS" AS IN "SOVEREIGN CITIZEN"/ AND HAD NO

  LEGAL RIGHTS/ WHILE OTHER IMMIGRANTS/ EVEN THOSE WHO ENTERED THE
  COUNTRY WITHOUT PROPER DOCUMENTATION/ HELD SOME LEGAL STATUS AND
  WERE NOT TREATED AS PROPERTY ie. MAHMOUD KHALIL. TREATMENT AND

  EXPLOITATION: ENSLAVED AFRICANS WERE SUBJECT TO BRUTAL TREATMENT

  AND ACTS OF STATE SPONSORED TERRORISM/ FORCED LABOR/ AND
  SEPARATIONS FROM NOT JUST THEIR HOMELAND/ BUT THEIR FAMILIES AS

  WELL/ OFTEN NOT EVEN PERMITTED TO MARRY/ WHILE OTHER IMMIGRANT

  GROUPS/ THOUGH FACING HARDSHIPS/ WERE GENERALLY NOT SUBJECT TO

  SUCH EXTREME FORMS OF EXPLOITATION AND ABUSE WHICH INCLUDED
  RAPES/ LYNCHINGS/ DISMEMBERMENTS/ CHILD RAPES AND SODOMY AND THE

  LIST GOES ON AND ON. HISTORICAL CONTEXT: SLAVERY WAS A SYSTEM OF

  FORCED LABOR THAT EXISTED IN THE UNITED STATES/ WHERE ENSLAVED

  AFRICANS WERE OWNED AND EXPLOITED BY THE WHITE CULTURE OF THIS
  NATION EXERCISING WHAT IS PERCEIVED AS A SUPERIOR POSITION.

  IMMIGRATION TO THE UNITED STATES HAS A LONGER HISTORY/ WITH

  VARIOUS GROUPS OF PEOPLE ARRIVING FOR DIBTERENT REASONS/

  INCLUDING ECONOMIC OPPORTUNITY/ POLITICAL FREEDOM/ AND SOCIAL
  CHANGE. THERE IS NO CONGRESSIONAL STATUTE THAT ESTABLISH RIGHTS
  FOR A "SOVEREIGN CITIZEN CLAIM" . THERE IS ONE FOR ESTABLISHING
  RIGHTS FOR A "FOREIGN SOVEREIGN IMMUNITY ACT CLAIM" WHERE THE

  ACTS OF* STATE SPONSORED TERRORISM OCCURRED INITIALLY ON "FOREIGN
  SOIL" WITHIN THE AFRICAN CONTINENT AND WHERE THE STATE SPONSORED

  TERRORISM EXCEPTION UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT
  APPLIES RETROACTIVELY AND WHERE CRAWFORD IS THE FIDUCIARY HEIR/

  KING/ KHALIFAH WITH RIGHTS ESTABLISHED BY "CONTRACT"/ BY

  "COVENANT" TO BRING THE CAUSE. THESE ARE NOT INCOMPREHENSIBLE

  CONCEPTS OF LAW. A SECTION 1983 COMPLAINT IS CONSIDERED

  INCOMPREHENSIBLE WHEN IT FAILS TO PROVIDE ADEQUATE FACTUAL
  ALLEGATIONS TO ESTABLISH A PLAUSIBLE CLAIM FOR RELIEF UNDER A
  PARTICULAR STATUTE. THE CLAIMS DO ESTABLISH PLAUSIBLE RELIEF

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   UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT/ BELL ATLANTIC CORP. v*

   TWOMBLY/ 127 S.Ct. 1955(U.S.2007); RIFFLE v. CARNIVAL/ 2025 WL
   1158107 (S.D.Fla.2025).



           ALL A PERSON HAVE TO DO IS GOOGLE/ AND ASK THE QUESTION:
   "CAN WHERE GOD TELLS ABRAHAM IN THE OLD TESTAMENT THAT ALL THE

   NATIONS OF THE WORLD WILL BE BLESSED BY HIM AND GOD! S LAWS BE

   CONSIDERED A "GRANT?" THE ANSWER WILL COME BACK "EMPHATICALLY

   YES". IT WILL TELL YOU GOD'S PROMISE TO ABRAHAM IN GENESIS 12:3,

   WHERE HE STATES THAT ALL NATIONS WILL BE BLESSED THROUGH ABRAHAM/
   CAN BE CONSIDERED A "GRANT". THUS/. THE "GRANT" GIVEN BY THE SOLE
   CORPORATION AND FOREIGN SOVEREIGN CROWN. THIS IS NOT DIFFICULT TO

   UNDERSTAND. IT IS A UNILATERAL DECLARATION FROM GOD/ NOT A
   NEGOTIATED OR REWARD FOR ABRAHAM'S (PBUH) ACTIONS/ BUT A PROMISE-

   (COVENANT IS A TYPE OF PROMISE THAT IS MORE BINDING?/ WITH
   ABRAHAM (PBUH) RECEIVING A "BENEFIT" TO HIM AND HIS DESCENDANTS

   (THIS PRODUCES THE BENEFICIARIES OF THE CESTUI QUE TRUST) / THE
   PROMISE/ COVENANT OF BLESSINGS/ WITHOUT REQUIRING ANY SPECIFIC

   ACTION OR PAYMENT FROM HIM. ELABORATION: UNILATERAL PROMISE: GOD
   MAKES THE PROMISE (COVENANT/CONTRACT) TO ABRAHAM (PBUH) WITHOUT
   REQUIRING ANY SPECIFIC CONDITIONS OR ACTIONS FROM ABRAHAM. ITS A

   GIFT OR FAVOR BESTOWED UPON HIM. BENEFIT TO ABRAHAM AND HIS

   DESCENDANTS: ABRAHAM RECEIVES THE PROMISE (COVENANT/CONTRACT) OF
   BLESSINGS/ WHICH ARE SEEN AS A POSITIVE OUTCOME. EXTENSION TO ALL
   BSTATIONS: THE PROMISE (COVENAKT/CONTRACT) EXTENDS BEYOND ABRAHAM
   TO ALL NATIONS/ INDICATING A BROADER DIVINE PURPOSE. ABRAHAMIC

   COVENANT: THIS PROMISE IS A KEY PART OF THE ABRAHAMIC COVENANT/ A

   SERIES OF PROMISES GOD MAKES TO ABRAHAM/ HIS DESCENDANTS
   (ESTABLISHING THE BENEFICIARIES OF THE CESTUI QUE TRUST BY 2
   WIVES "HAGAR" [MUSLIMS] AND "SARAH" [JEWS AND CHRISTIANS]/ AND

   THE LAND. BLESSINGS THROUGH OBEDIENCE: WHILE THE PROMISE IS A
   "GRANT"/ IT ZS ALSO LINKED TO ABRAHAM'S OBEDIENCE AND FAITH (DO

   NOT GIVE THE RIGHT TO LEGALLY MARRY WHICH IS AN INTRINSIC TENET
   OF GOD'S LAWS TO "SODOMJTES [HOMOSEXUALS] OR GOMORRAHRITES
   [LESBIANS] WHO GOD CONSIDER AS ABOMINATIONS AND YOU ARE OBLIGATED
   BY THIS COVENANT/CONTRACT TO PREVENT THIS AND PROTECT ITS TERMS).
   GOD PROMISES BLESSING THROUGH ABRAHAM'S SEED (DESCENDANTS/ HAGAR

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    [MUSLIMS]/ SARAH [CHRISTIANS AND JEWS])/ AND ABRAHAM AND HIS
    DESCENDANTS (THE FIDUCIARY HEIR/ KING/ KHALIFAH AND BENEFICIARIES

    OF THE CESTUI QUE TRUST) OBEDIENCE HELPS FULFILL THIS PROMISE/
    THIS COVENANT/ THIS CONTRACT ESTABLISHING DIRECT AND THIRD PARTY

    OBLIGATION/ THAT ZS OBVIOUSLY PROTECTED BY ARTICLE 1 § 10 OF THE
    UNITED STATES CONSTITUTION WHICH PROTECTS ALL KINDS OF CONTRACTS/
    INCLUDING RELIGIOUS "COVENANTS". IT IS PROTECTED BY THE 1st.

    AMENDMENT FREE EXERCISE CLAUSE BEING ATTACHED TO RELIGIOUS
    OBSERVANCE AS WELL AS STATE AND FEDERAL PROBATE LAW BEING
    "INTELLECTUAL PROPERTY" BY INHERITANCE AS GOD' S HEIRS THROUGH

    CHRIST. THIS POSITION IS NOT INCOMPREHENSIBLE/ THE CLAIM IS NOT

    UNREASONABLE AND INDISPUTABLY HAS FOUNDATION. IT IMPLICATES THE
    LAWS OF CONTRACT/ THE LAWS OF PROBATE OR INHERITANCE/ IT

    IMPLICATES RIGHTS UNDER THE 1st. AMENDMENT FREE EXERCISE CLAUSE
    ALSO BEING DIRECTLY TIED TO RELIGIOUS BELIEFS. DUE TO THE
    "CONTRACT"/ "COVENANT" OCCURRING ON "FOREIGN SOIL" INVOLVING A

    "SOLE CORPORATION". FOREIGN SOVEREIGN IMMUNITY. ACT IMPLICATION

    ALSO EXIST (INVOLVING PROPHETS, KINGS AND HIGH PRIESTS) WHERE THE
    LAW OF THE "CONTRACT" / "COVENANT" WHEN AND WHERE IT WAS MADE

    STANDS AND CANNOT BS MADE OR UNMADE BY THE COURTS WITH EX POST
    FACTO LAW/ WATSON V * MERCER/ 27 U.S. 380 (U.S.1829); OGDEN v.
    SANDERS/ 25 U.S. 213 (U.S.1827); PURE WATER INCORPORATED v .

    PRESCOTT/ CITY OF/ 845 F.3d. 943 (9th.Cir.2017); LOYD v. ROWE/ 20-
    N.J.L. 680 (N.J.1846)(THE ASSIGNMENT OF THE BREACH IS

    SUFFICIENT); FLETCHER V. PECK/ 6 CRANCH 87 (U.S.1810); TRUSTEES
    OF DARTMOUTH COLLEGE v. WOODWARD/ 17 U.S. 518 (U.S.1819); U.S. v.
    JOHNSON, 845 F.Supp. 864 (M.D.Fla.1994)(THE ACT OF GIVING GAYS
    AND LEBIANS THE RIGHT TO LEGALLY MARRY IS CRIMINAL AND PUNISHABLE
    BY DEATH UNDER THE LAWS OF THE ONE TRUE GOD IMPLICATION ALSO EX
    POST FACTO CLAUSE PROTECTION BASED UPON THE LAWS WHERE AND WHEN
    THE COVENANT WAS MADE); FOX v. VICE/ 563 U.S. 826, 131 S . Ct .
    2205(0.3.2011); RABB v. CITY OF OCEAN CITY, NEW JERSEY/ 833 F . 3d .

    286 (3rd.Cir.2016).


            INASMUCH/ THE PETITIONER WILL DEAL WITH THE ELEP.HANT IN

    THE ROOM. THE PETITIONER HAS BEEN SEEN BY 9 DIFFERENT FORENSIC

    PSYCHOLOGIST. NOT ONE OF THEM DEEMED THE PETITIONER AS DELUSIONAL

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   OR PSYCHOTIC. THE PETITIONER IS NOT ON ANY PSYCHOTROPIC

   MEDICATION. THIS JPLEADING SUBMITTED AS AN "AFFIDAVIT OF FACTS"

   MUST BE CONSIDERED AS TRUE UNLESS REBUTTED BY CLEAR EVIDENCE. IT

   IS RECORDED HISTORY THAT THE PROPHET JOSEPH OF THE 3 MONOTHEISTIC
   RELIGIONS/ WHILE IN CAPTIVITY IN EGYPT/ MARRIED "ASEtSEATH" / THE

   DAUGHTER OB* THE EGYPTIAN PRIEST OF "ON" (HELIOPOLIS IN EGYPT). IT

   IS A WELL KNOWN HISTORICAL FACT THAT EGYPTIANS/ JEWS AND ARABS
   OCCUPIED THAT AREA CONNECTING THE BLOODLINE OF THE "QURAYSH" OF

   ISLAM WHOM THE PROPHET MUHAMMAD * S OF ISLAM ( PBUH) ANCESTRY
   ORIGINATES FROM WHICH IS SUPPORTED BY GENESIS 21:8-21 THAT
   MENTIONS THAT "ISHMEAL" WHOM MUSLIMS TRANCE THEIR ANCESTRY TO

   MARRIED AN "EGYPTIAN WOMAN". IT WAS BY THE ONE TRUE GOD'S DIVINE

   DECREE (QADR) THAT HE ALLOWED THE PROPHET JOSEPH TO MARRY
   "ASNENATH" WITH BLOODLINE CONNECTIONS TO ISHMAEL AND HIS SONS

   SEEN IN THE BOOK OF GENESIS 41:45 WHICH IS SUPPORTED BY THE
   VISION OF JOSEPH SEEING HIS BROTHERS AND PARENTS BOWING DOWN TO
   HIM. IT IS CLEAR BY GENESIS CHAPTER(S) 17:16 AND 21:13 THAT THE
   ONE TRUE GOD PROMISED ABRAHAM THAT HE WOULD MAKE "BOTH" HAGAR AND

   SARAH A GREAT NATION WHICH IS FULFILLED BY THE EMERGENCE OF THE
   JUDEO-CHRISTIAN AND ISLAMIC FAITHS WITH MUSLIMS BEING DESIGNATED
   AS HAGAR'S CHILDREN AND JEWS AND CHRISTIANS BEING DESIGNATED AS

   SARAH'S CHILDREN. THUS/ YOU HAVE THE ESTABLISHING OF THE PARABLE

   OF THE "TWO STICKS" WRITTEN WITHIN THE BOOK OF EZEKIEL 37:16-22

   FORETELLING THAT THESE TWO NATIONS OP HAGAR AND SARAH WOULD IN
   EARTH'S HISTORY BE UNITED UNDER ONE KING/ KHALIFAH WHO IS THE
   FIDUCIARY HEIR/ KING/ CRAWE-ORD / PRESENTLY BEFORE YOU. THERE IS

   ALSO EVIDENCE OF QURAYSH BLOODLINE OF THE PROPHET MUHAMMAD (PBUH)
   BEING DIRECTLY TIED TO THE PROPHET JACOB OF JUDEO-CHRISTIAN
   FAITH. THEREFORE/ BY "CONTRACT"/ BY "COVENANT" CONFIRMED BY ISLAM
   AND THAT WHICH IS WRITTEN IN THE BOOK OF ISAIAH 11:1-5 AND
   ZECHARIAH 6:12-13 "THE BRANCH" OF JEWISH PROPHESY/ "THE ELIJAH"

   OF CHRISTIAN PROPHESY/ "THS MAHDI" OF ISLAMIC PROPHESY/ THE
   DIRECT DESCENDANT OF THE EARTH'S GREATEST PROPHETS AND KINGS/ OF

   THE LINE OF AARON AND THE LEVITICAL PRIESTHOOD/ THE FIDUCIARY

   HEIR/ KING/ KHALIFAH/ IMAM AIsSD NAZARITE HIGH PRIEST OF THE ONE
   TRUE GOD IS ONE MAN/ NOT THREE/ AS SOME MAY HAVE THOUGHT. THIS

    PERSON BY RELIGIOUS PROPHESY IS RULER AND RELIGIOUS LEADER/ A


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   "KING-KHALIFAH-IMAM-PRIEST" OVER THE 4 GLOBAL THRONES OF

  RELIGIOUS PROPHESY THAT ESTABLISH THE RE-ESTABLISHED GLOBAL

  THEOCRATIC STATE/ "THE KINGDOM OF IRON MIXED WITH MIRY CLAY"

  FORETOLD AND WRITTEN TO COME SEEN WITHIN THE BOOK OF DANIEL
   CHAPTER 2:41-44 DEPICTING A "KINGDOM" THAT IS POWERFUL AND

  STRONG/ LIKE IRON/ THAT EXIST WITHIN YOUR FRACTURED/ DIVISIVE/
   POLARIZED GLOBAL DEMOCRATIC NATIONS WHO DUE TO YOUR GLOBAL
  DIVISIONS ARE "CLAY"/ YOU ARE ALL OVER THE PLACE/ LEFT/ RIGHT/

  MIDDLE/ WITH NO TRUE .DIVINE COURSE/ SUBJECT TO YOUR CARNAL WHIMS/

  SPEAKING BLASPHEMIES AGAINST THE ONE TRUE GOD/ MEN MARRYING MEN/

  WOMEN MARRYING WOMEN AND ALL KINDS OF CRA2Y/ CORRUPT GREED AND
  AVARICE/ RACIAL HATRED AND VIOLENCE YOUR NATIONS HAVE GOING ON.

  BY SUCH/ AS THE FOREIGN SOVEREIGN FORERUNNER TO GOD'S CHRIST/ MY

  GREAT ETC. GRAND UNCLE/ ALL OF AFRICA/ ALL OF THE MIDDLE EAST/

  EVERY CHURCH/ MOSQUE AND SYNAGOGUE AROUND THE WORLD/ INCLUDING
  THE VATICAN COMES UNDER MY AUTHORITY AND RULE TO PERMIT ME TO

   PURGE THEM BEFORE CHRIST'S RETURN AS SUPPORTED BY MARK 9:12 AND

  THE BOOK OF MALACHI CHAPTERS 3 AND 4 OF THE "CONTRACT"/

   "COVENANT" ALSO SUPPORTED BY THE LITIGATION CONTAINED WITHIN THE

  ATTACHMENTS FILED IN THE SEEKING OF THIS MOTION TO INTERVENE IN
   THE MAHF/tOUD KHALIL CASE THAT IS BY RIGHT/ NOT PERMISSION. THE

   INTERVENOR-PLAINTIFF IS UNDER FIDUCIARY DUTY AND CONTRACTUAL
   OBLIGATION TO PREVENT THE ACTS PERPETRATED AGAINST MAHMOUD KHALIL

   AND THE OTHER PRO PALESTINIAN.PROTESTORS FOR THE SAKE OF "JUSTICE
   AND FAIRNESS" AS THE "CONTRACTS"/ COVENANTS" OF THE 3 TRUE

   MONOTHEISTIC RELIGIONS FORETELL/ EDEN V. GOODYEAR TIRE & RUBBER
   CO./ 858 F.2d. 198 (4th.Cir.l988) ; CURTIS v. CAFE ENTERPRISES
   INC. / 2016 WL 6916786 (N.C.2016); MASTERPIECE CAKESHOP/ LTD. v.
   COLORADO CIVIL RIGHTS COM'N./ 138 S.Cfc. 1719, 201 L.Ed.2d.
   36(U.S.2018). RIGHTS UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT ARE

   INVOKED BY WHAT IS ARGUED WITHIN THESE PENDING CASES. EVERY ACT

   DO NOT HAVE TO BE COMMERCIAL IN NATURE IF IT HAS A CASUAL

   CONNECTION TO COMMERCIAL ACTS SUCH AS THE GOVERNMENT PAYING AND
   ALLOWING PRIVATE ENTITIES TO MAKE MONEY OFF OF HOUSING THE
   IMMIGRANTS/ PAYING MILLIONS OF DOLLARS TO FOREIGN GOVERNMENTS TO
   HOUSE THESE IMPORTED IMMIGRANTS AND DEPRIVING FEDERAL FUNDING OR
   NON PROFIT STATUS IF THE RELIGIOUS GROUPS OPPOSE THIS RECKLESS

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  INFRINGEMENT AND ENCROACHMENT UPON OUR RELIGIOUS DOMAIN THAT IS
  PROTECTED BY CONTRACT/ BY COVENANT AND THE 1st. AMENDMENT FREE
  EXERCISE CLAUSE OF THE U.S. CONSTITUTION. IT IS A KNOWN

  SCIENTIFIC FACT THAT AFRICAN BLOOD FLOWS THROUGH MIDDLE EASTERN
  POPULATIONS AND THESE LATINOS WHERE MANY SLAVES FROM AFRICA WERE
  TAKEN TO SOUTH AMERICA AND THROUGHOUT THE MIDDLE EAST AS WELL.

  THEREFORE/ AS PART OF THE SEEKING OF REPARATIONS FOR THE

  TRANS-ATLANTIC SLAVE TRADE/ ALL MIDDLE EASTERNERS AND LATINOS WHO

  ARE IN THIS NATION WILL BE SOUGHT PROTECTED PURSUANT TO THE
  SEEKING OF REPARATIONS BECAUSE WE ALL KNOW GOOD AND WELL THAT THE
  GLOBAL NATIONS WOULD NEVER BE ABLE TO PAY THE FULL DEBT OWED TO
  AFRICAN AMERICANS IN MERELY MONETARY/ PUNITIVE DAMAGE RELIEF.

  THIS ALSO REQUIRES THE ISSUING OF PRELIMINARY INJUNCTION TO CALL
  FOR MAHMOUD KHALIL AND ANY OTHER PRO PALESTINIAN PROTESTOR
  RELEASE AND TO HALT ANY FURTHER DEPORTATIONS UNTIL THIS CASE
  PURSUANT TO REPARATIONS CAN BE PERMITTED TO MOVE FORWARD WITHIN
  THE COURTS UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT EXCEPTIONS
  FOR THE SAKE OF "JUSTICE AND FAIRNESS"/ DeSANCHEZ V. BANCO

  CENTRAL De NICARAGUA/ 770 F.2d. 1385, 54 U.S.L.W.
  2230(5fch.Cir.l985); ROSESABAGINA v. REPUBLIC OF
  RWANDA/--F.S.upp. 3d.--/ 2023 WL 355951 (D.D.C. 2023); VERLZNDEN

  B.V. V. CENTRAL BANK NIGERIA/ 461 U.S. 480, 103 S.Ct. 1962, 76

  L.Ed.2d. 81 (U.S.1983); AMERICAN PIPE & CONST. v. UTAH/ 414 U.S.

  538, 94 S.Ct. 756/ 38 L.Ed.2d. 713(U.S.1974); CALIFORNIA PUBLIC

  EMPLOYEES/ RETIREMENT SYSTEMS V. A.N.Z. SECURITIES/ INC./ 137
  S.Cfc. 2042, 198 L.Ed.2d. 584/ 85 U.S.L.W. 4481(U.S.2017}; CHINA

  AGRITECH/ INC. V. RESH/ 138 S.Ct. 1800, 201 L. Ed. 2d. 123, 86

  U.S.L.W. 4369(U.S.2018); IN RE: PORSHE AUTOMOBIL HOLDINGS S.E./

  985 F.3d. 115 (lsfc.Cir.202l).


          THE PLAINTIFF-INTERVENOR BRINGS THE COURT 'S ATTENTION TO

  THE ATTACHMENT/ THE AFFIDAVIT OF FACTS GIVING JUDICIAL
  NOTICE;****/ [40] PAGES DATED NOVEMBER 22, 2024. WITHIN THIS

  DOCUMENT EXIST THE MEMORANDUM OF LAW AND DECLARATION OF
  SOVEREIGNTY OF THE RE-ESTABLISHED GLOBAL THEOCRATIC STATE. JUST

  LIKE THE UNITED STATES FOUGHT TO LONG AGO TO ESTABLISH THEMSELVES
  AS A SOVEREIGN NATION FROM THE HOMELAND OF ENGLAND; JUST LIKE THE

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    STATE OF ISRAEL IN 1948 FOUGHT TO ESTABLISH THEIR INDEPENDENT
    SOVEREIGN IDENTITY IN THE MIDDLE EAST; JUST AS THE VATICAN
    ESTABLISHED ITSELF AS AN INDEPENDENT SOVEREIGN NATION WITHIN THE
    BORDERS OF THE SOVEREIGN STATE OF ITALY; JUST AS THE INDIAN
   NATIONS OF THE UNITED STATES FOUGHT TO ESTABLISH THEMSELVES AS AN
    I NDEPENDWT—NATI ON—li\TTTHI N ~ ~T HE—UNTTE D- " S T-A-T-E-S ?~B^--T-H-E - C 0 M M-A-WB- -0-EL-

    THE ONE TRUE GOD/ I AM HERE/ AS THE FORERUNNER TO GOD'S CHRIST/

   TO DO THE SAME TO AND FOR MY PEOPLE/ AFRICANS/ ITS DIASPORA/
    CHRISTIANS/ MUSLIMS/ JEWS OF THE WORLD BY "CONTRACT"; BY

    "COVENAISIT" OF THE SOLE CORPORATION AND FOREIGN SOVEREIGN CROWN

   UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT. THOUGH AT PRESENT THERE

    MAY BE NO CONGRESSIONAL PROVISION THAT ESTABLISH THIS/ THERE IS A

    RIGHT TO DO SO BY 1st. AMENDMENT PROTECTIONS OF FREEDOM OF

   RELIGION. THERE IS A RIGHT TO DO SO BY ARTICLE 1 § 10 OF THE
    CONTRACT CLAUSE OP THE U.S. CONSTITUTION. THERE IS A RIGHT TO DO
    SO BY PROBATE LAW/ THE LAWS OF TRUSTS AND INHESRITANCE. THERE IS A

    RIGHT TO DO SO BY THE FOREIGN SOVEREIGN IMMUNITY ACT WITH
    DECEDENT DOMICILE CLAIMS SINCE THE UNITED STATES CANNOT LEGALLY
    NATURALI2E BY THE 14TH. AMENDMENT STOLEN AFRICAN SOVEREIGN KINGS
    OR THEIR STOLEN SOVEREIGN OFFSPRING WITH DIRECT TIES TO THE
    THRONE OF ISRAEL AND THE ISLAMIC KHALIFATE. THERE IS A RIGHT TO
    DO SO BY THE LAW OF DEFAULT/ FORFEITURE AND WAIVER WHERE THE

    UNITED STATES CONGRESS AND SENATE WERE PARTIES UNDER THE CRAWFORD
    STATE CASES RELZED UPON FOR WHICH THEY WERE BEIKSG SUED FOR THIS
    RIGHT OF FOREIGN SOVEREIGN ESTABLISHMENT UNDER CASES
    2013-CP-400-0084/ 2294 WHERE THE UNITED STATES GOVERNMENT AGENTS

    WHO REPRESENTED THE UNITED STATES CONGRESS AMD SENATE TO
    ESTABLISH THE LEGAL RIGHT MADE A BACK DOOR APPEARANCE GIVING THE
    STATE COURT JURISDICTION OVER THEM BY THE UNITED STATES
    GOVERNMENT HIDING THEIR APPEARANCE IN FRAUD AND FAILED TO PLEAD
    SUBJECTING THE UNITED STATES TO DEFAULT/ FORFEITURE AND WAIVER.

    ONCE CRAWFORD CAUGHT AND BROUGHT TO THE ATTENTION OF THAT STATE
    COURT THE UNITED STATES GOVERNMENT'S BACK DOOR APPEARANCE

    ESTABLISHED BY RECORD ENTRY/ TIMELY PLACING THE DECEPTION ON THE
    COURT RECORD WHERE THE COURT AND PARTIES WERE DIRECTLY SERVING
    THEEH AND THEY WERE VOLUNTARILY RECEIVING THOSE COURT FILING AFTER
    THEIR VOLUNTARY APPEARANCE WAIVING ANY CHALLENGE TO SERVICE OR

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  IMPROPER NOTICE. ONCE THE STATE OF SOUTH CAROLINA ACTORS/

  CONSPIRING UNDER COLOR OF STATE LAW/ IN ACTS OF FRAUD UPON THE
  COURT AND OBSTRUCTION OF JUSTICE/ REALIZED THAT WE CAUGHT THE

  UNITED STATES GOVERNMENT'S VOLUNTARY APPEARANCE/ THEY ATTEMPTED

  TO CONCEAL THE PRESENCE OF PAUL GUNTER AND KRISTY KHOL/

  REPRESENTATIVE AGENTS OF THE UNITED STATES FROM THE COURT RECORD
  BY ILLEGALLY DISMISSING THE CASES SAYING THAT THE UNITED STATES
  WAS NOT PROPERLY SERVED THOUGH THE UNITED STATES NEVER TIMELY OR
  PROPERLY CHALLENGED ANY SERVICE DEFICIENCY AND THEY VOLUNTARILY

  APPEARED DEMONSTRATING THAT THEY WERE INDEED SERVED THE SUMMONS
  AND COMPLAINT OR THEY WOULD HAVE NOT HAD KNOWLEDGE OF THE CASE
  AND SHOWED UP IN THAT COURTROOM. THIS IS WHY IN FRAUD THEY HAD TO
  DO ANYTHING THEY POSSIBLY COULD TO ILLEGALLY DISMISS THE CASE

  BECAUSE THE UNITED STATES GOVERNMENT'S FAILURE TO PLEAD AND

  CHALLENGE ALL THAT WAS ASSERTED WOULD BIND ALL (50) STATES BY THE
  SUPREMACY CLAUSE WHEN THEN REMOVED TO FEDERAL JURISDICTION VIA

  THE FEDERAL FORFEITURE AND WAIVER AND PURSUANT TO THE FOREIGN
  SOVEREIGN IMMUNITY ACT. THIS IS WHY THE FEDERAL GOVERNMENT

  INAPPROPRIATELY INFLUENCED THE VARIOUS FEDERAL JUDGES INVOLVED TO
  AVOID SERVICE AND PREVENT THESE JURISDICTIONAL FACTS FROM BEING

  ESTABLISHED WITHIN ANY FEDERAL COURT RECORD WITHIN AN EXTRA
  TERRITORIAL CONSPIRACY GOING ON FOR YEARS. THIS IS NOT AN

  INCOMPREHENSIBLE POSITION OF LAW. NOR IS IT UNREASONABLE OR
  IMPLAUSIBLE/ OR BASELES OR MERITLESS OR FRIVOLOUS WHICH IS WHAT

  THIS CASE IS ALSO FILED TO DETERMINE REQUIRING THE ISSUING OF THE
  SUMMONS AND COMPLAINT TO DETERMINE ONCE AND FOR ALL WHO "KRISTY
  KHOL" AND "PAUL GUNTER" ARE/ WHO MADE BACK DOOR APPEARANCE WITHIN

  THOSE CRAWFORD STATE COURT PROCEEDINGS AND FORFEITED AND WAIVED

  ON ANY CHALLENGE TO THE CLAIMS BEFORE US. THIS WOULD ESTABLISH
  CONGRESSIONAL INTENT/ LIABILITY AND RIGHTS BY THE UNITED STATES

  GOVERNMENT'S SILENCE AND FRAUD CONCEALING THEIR VOLUNTARY

  APPEARANCE WHEN THEY HAD FULL OPPORTUNITY TO CHALLENGE, DEFEND
  AND REBUT THE CLAIMS WITHIN THAT STATE COURT PROCEEDINGS WHICH IS
  AN INTRINSIC PART OF THE EXTRA TERRITORIAL CONSPIRACY GOING ON
  FOR OVER 18+ YEARS. ONCE THE UNITED STATES GOVERNMENT/ ITS
  CONGRESS/ ITS SENATE VOLUNTARILY APPEARED IN THE FORM OF PAUL

  GUNTER AND KRISTY KHOL (HOW DID THE PLAINTIFF GET THESE NAMES IF

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  THEY DIDN'T APPEAR WITHIN THE COURT DOCUMENTS WITH FEDERAL EMAIL

  ADDRESSES)/ BUT MAKE NO CHALLENGES TO THE SUMMONS AND COMPLAINT/
  THEY WOULD BE SUBJECT TO DEFAULT/ FORFEITURE AND WAIVER. THEIR
  FAILURE TO RESPOND AND CONTEST THE CLAIMS WOULD BE TREATED AS AN
  ADMISSION. LEADING TO JUDGMENT IN THE PLAINTIFF" S FAVOR WHICH

  WOULD BIND ALL (50) STATES BY THE SUPREMACY CLAUSE. THE U.S.

  GOVERNMENT GENERALLY HAS SOVEREIGN IMMUNITY IN THAT IT CANNOT BE
  SUED WITHOUT CONSENT. YET CONGRESS CAN WAIVE THAT IMMUNITY (ie.

  THE F.S.I.A.) ALLOWING SUIT TO MOVE FORWARD. IF THE GOVERNMENT
  CHOOSES TO VOLUNTARILY APPEAR IN A COURT AFTER BEING SUED BEING

  SERVED THE SUMMONS AND COMPLAINT. THE UNITED STATES GOVERNMENT IS
  IMPLICITLY CONSENTING TO THE COURT'S JURISDICTION. IF THE

  GOVERNMENT APPEARS (KRISTY KHOL/ PAUL GUNTER) BUT DOESN'T
  CHALLENGE THE COMPLAINT OR SUMMONS/ IT'S ESSENTIALLY CONCEDING

  THE VALIDITY OF THE CLAIMS AND WAIVING ITS RIGHT TO CONTEST THEM.

  IN THIS SCENARIO THE STATE COURT WAS REQUIRED TO ISSUED THE
  DEFAULT JUDGMENT IN FAVOR OF THE PLAINTIFF WHZCH FURTHER
  DEMONSTRATE A LIKELIHOOD TO SUCCEED ON THE MERITS FOR PRELIMINARY
  INJUNCTION PURPOSES AGAINST THE STATE OF ISRAEL AND TO PREVENT
  ANY FURTHER DEPORTATIONS UNTIL TRIAL CONCLUDES/ INCLUDING MAHMOUD
  KHALIL'S/ BUT IN FRAUD WORKED TO CONCEAL THEIR VOLUNTARY
  APPEARANCE. THE UNITED STATES GOVERNMENT'S FAILURE TO DEFEND

  ITSELF WOULD BE CONSIDERED A FORFEITURE AND WAIVER ON ANY
  DEFENSES THAT THEY MIGHT HAVE HAD MAKING MAHMOUD KHALIL A
  BENEFICIARY OF THE CESTUI QUE TRUST/ PROTECTED BY THE ONE TRUE
  GOD/ THE FIDUCIARY HEIR/ KING/ KHALIFAH/ IMAM AND NA2ARITE HIGH

  PRIEST OF THE ONE TRUE GOD/ A MEMBER OF THE SOLE CORPORATION AND
  FOREIGN SOVEREIGN CROWN/ BY "CONTRACT" / BY "COVENANT"/ BEING
  IMMUNE FROM GOVERNMENT ACTION WITHOUT THE CONSENT OF THE
  FIDUCIARY HEIR AND KING WHICH THE UNITED STATES GOVERNMENT DO NOT

  HAVE OR ITS AGENCIES/ WHICH ALSO RELATE TO ALL PRO PALESTINIAN

  PROTESTORS WITHIN THIS NATION. THOUGH IN FRAUD/ CONSPIRACY AND
  OBSTRUCTION OF JUSTICE THE CRAWFORD STATE CASES WERE
   INAPPROPRIATELY DISMISSED/ TIMELY -MOTION TO VACATE THOSE

  JUDGMENTS FOR FRAUD UPON THE COURT WERE FILED AND ARE STILL
   PENDING UNTIL THIS VERY DAY, FAILED TO BE RULED ON FURTHER

   DEMONSTRATING THAT THE CLAIMS ARE NOT MOOT AND WHERE THE CASES

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    ARE PETITIONED REMOVED TO THE FEDERAL COURT UNDER 28 U.S.C. §§

    2679, 1602-1605 ET. SEQ.. THUS/ BEFORE THE FEDERAL COURTS CAN

    EVER CALL THIS CLAIM FRIVOLOUS/ SERVICE AND COMPLAINT MUST ISSUE
    TO DETERMINE ONCE AND FOR ALL WHO "PAUL GUNTER" AND "KRISTY KHOL"

    ARE WHO MADE BACK DOOR APPEARANCE WITHIN THE CRAWFORD STATE CASES
    ARE AND WHO FAILED TO MAKE ANY CHALLENGE SUBJECTING THE UNITED
    STATES GOVERNMENT TO DEFAULT/ FORFEITURE AND WAIVER/ WHICH WOULD

    ALSO GO TOWARDS PREVENTING THE DEPORTATION OF MAHMOUD KHALIL AND
    ANY OTHER RELEVANT PRO PALESTINIAN PROTESTOR/ HAMER v.
    NEIGHBORHOOD" "HOUSING SERVTC E- "OF    CHICAGO'/ 583      -u .-S^—1-7
                                                                             /
                                                                                 -1-38- -S-^C-tT-


    1:3   ( u.s..2017 ) ; UNITED STATES     v. CAMMARATA /         129       F .4TH.        193
    ( 3rd Cir 2025 ) ; UNITED STATES         V. DORSEY,           105        F .4TH.        526
    (3rd.Cir.2024). AS LONG AS THAT CASE IS STILL PENDING/ EVEN IN
    THE FORM OF A TIMELY MOTION TO VACATE THE FINAL ORDERS FOR FRAUD
    UPON THE COURT/ POSSESSING 28 U.S.C. §§ 2679, 1605-1612 ET. SEQ.

    FEDERAL QUESTION/ THE CLAIMS ARE NOT MOOT AND THE UNITED STATES
    GOVERNMENT VOLUNTARY APPEARANCE FAILING TO CHALLENGE BINDS AT
    THIS COURT MAKING MAHMOUD KHALIL SUBJECT TO IMMUNITY WITHOUT THE
    CONSENT OF THE FIDUCIARY HEIR/ KING/ KHALIFAH WHICH THE

    GOVERNMENT AGENCY INVOLVED DO NOT HAVE AND WHERE THE U. S.

    CONGRESS AND SENATE ARE PARTIES TO THE DEFAULT/ FORFEITURE AND

    WAIVER/ ECC INTERNATIONAL CONSTRUCTORS / LLC. v. SECRETARY OF
    ARMY/ 79 F.4TH. 1364 (Fed.Cfc.2023); BROWN V. ARIZONA/ 82 F.4TH.
    863 (9fch.Cir.2023).


             ONCE THAT CRIMINAL ACT OF FRAUD AND OBSTRUCTION THAT

    OCCURRED WITHIN THE CRAWFORD STATE COURTS CASES INVOLVED IS
    REMOVED TO THE FEDERAL COURTS AND IT BE ESTABLISHED BEYOND ANY
    REASONABLE DOUBT WHO KRISTY KHOL AND PAUL GUNTER ARE WHO MADE THE
    VOLUNTARY APPEARANCE ON BEHALF OF THE UNITED STATES GOVERNMENT
    BUT FAILED TO PLEAD AND CHALLENGE THE CLAIMS WHO EVEN ACTED AS
    AGENTS OF THE U. S. CONGRESS AND SENATE WHO ARE NAMED IN THE
    COMPLAINT(S) UNDER CASES 2013-CP-400-0084/ 2294 OUT OF THE S.C.

    RICHLAND COUNTY COURT OF COMMON PLEAS SUBJECTING THE UNITED
    STATES GOVERNMENT TO FORFEITURE AND WAIVER UNDER THE FOREIGN
    SOVEREIGN IMMUNITY ACT/ THAT FORFEITURE AND WAIVER WOULD BE

    BINDING ON ALL 50 STATES BY THE SUPREMACY CLAUSE/ INCLUDING THE

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   AGENCIES THAT ARE SUBJECT IN QUESTION PURSUANT TO THE MAHMOUD
   KHALIL'S SEIZURE AND ATTEMPTED DEPORTATION. THIS CLAUSE WITHIN

   THE U.S. CONSTITUTION ESTABLISHES THAT FEDERAL LAW/ INCLUDING

   COURT JUDGMENTS/ IS THE SUPREME LAW OF THE LAND/ BINDING ALL
   STATES. THUS/ ANY JUDGMENT AGAINST THE FEDERAL GOVERNMENT/ EVEN

   BY DEFAULT/ WOULD BE APPLICABLE NATIONWIDE AND TO ALL FEDERAL

   AGENCIES INVOLVED INCLUDING THE IMMIGRATION DEPARTMENT. THEIR

   FRAUDULENT CONCEALMENT AND VIOLATION OF DUE PROCESS LAW WITHIN
   THOSE STATE PROCEEDINGS BIND THEM PREVENTING MAHMOUD KHALIL'S

   IMMIGRATION REMOVAL AND THE OTHERS INVOLVED WITHOUT THE CONSENT
   OF THE FIDUCIARY HEIR/ KING/ KHALIFAH WHICH THE AGENCY INVOLVED

   DO NOT HAVE. PRELIMINARY INJUNCTION IN FUNDAMENTAL FAIRNESS TO

   THE PARTIES MUST ISSUE TO PREVENT ANY FURTHER IRREPARABLE INJURY
   FROM HAPPENING TO OTHERS AND TO REMEDY THE INJUSTICES THAT HAVE
   CURRENTLY OCCURRED/ TREASURY OF NEW JERSEY V . U. S. DEPT. OF
   TREASURY/ 684 F.3d. 382 (3rd.Cir.2012); UNITED STATES V.

   WASHINGTON/ 596 U.S. 832, 142 S.Ct. 1976 (U.S.2022); COUNTY OF
   OCEAN v. GREWAL/ 475 F.Supp.3d. 355 (D.N.J.2020).


          BY THE LITIGATION SUBMITTED/ THE CASES REFERRED TO WITHIN
   THE ATTACHMENTS/ AMONG OTHER THINGS/ ARE FILED TO ESTABLISH ALL
   RIGHTS/ TITLES/ PRIVILEGES AND IMMUNITIES OF THE SOLE CORPORATION
   AND FOREIGN SOVEREIGN CROWN AND THE BENEFICIARIES OF THE CESTUI
   QUE TRUST OF THE RE-ESTABLISHED GLOBAL THEOCRATIC STATE OF THE
   (3) TRUE MONOTHEISTIC RELIGIONS OF JUDAISM/ CHRISTIANITY AND
   ISLAM/ WHICH INCLUDE ALL OF AFRICA/ THE MIDDLE EAST AND THE STATE

   OF ISRAEL. THIS WOULD WARRANT A PRELIMINARY INJUNCTION TO STAY

   ANY ATTEMPTED DEPORTATIONS UNTIL TRIAL OCCURS AND WOULD GIVE
   EVERY CHURCH/ MOSQUE AND SYNAGOGUE AROUND THE WORLD FOREIGN
   EMBASSY STATUS SUPPORTED BY RIGHTS OF RES JUDICATA AND COLLATERAL

   ESTOPPEL FROM THE JEREMIAH MACKEY JR. AND CRAWFORD S.C. STATE

   CASES RELIED UPON. THUS/ A PRELIMINARY INJUNCTION STAYING ALL

   DEPORTATIONS IS WARRANTED AND IT BECOMES ILLEGAL AND
   IMPERMISSIBLE FOR ANY GOVERNMENT AGENCY TO CALL THEMSELVES
   ENTERING THE CHURCHES/ MOSQUES AND SYNAGOGUES WITHIN YOUR GLOBAL
   NATIONS TO CARRY OUT ANY IMMIGRATION AGENDA OR ANY OTHER OF YOUR
   GLOBAL NATIONS AGENDA WITHOUT THE CONSENT OF THE FOREIGN
   SOVEREIGN FIDUCIARY HEIR/ KING/ KHALIFAH/ IMAM AND HIGH PRIEST

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   AND MEMBER OF THE SOLE CORPORATION AND FOREIGN SOVEREIGN CROWN AS
   THUS STATED AND ESTABLISHED WITHIN THE LEGAL DOCUMENTS PRESENTED.
   THEREFORE/ THE MOTION TO INTERVENE BY RIGHT M\3ST BE PERMITTED TO

   ALLOW THE FORERUNNER TO GOD ' S CHRIST TO PROTECT HIS ACQUIRED
   INTEREST AND THE INTEREST OF THE BENEFICIARIES OP THE CESTUI QUE
   TRUST/ WHOM MAHMOUD KHALIL IS ONE/ AND TO HALT ANY GLOBAL

   -@OV-E-RN-M-E-Nre—B'ROM—m-TER^G—T-H-E-SB --P-L-A-GSS—OF-—WORSSX-P—T-0—&R.QMOT-E..

   IMMIGRATION RAIDS OR TO ESTABLISH YOUR GLOBAL NATIONAL INTEREST
   OR AGENDAS WITHOUT THE CONSENT OF THE FIDUCIARY HEIR/ KING/
   KHALIFAH AND HIGH PRIEST OF THE ONE TRUE GOD WHICH NONE OF YOUR
   GLOBAL NATIONS OR AGENCIES WITHIN HAVE. THE PETITIONER MOTIONS TO
   INTERVENE FOR THE PURPOSE OF ESTABLISHING THE SOVEREIGNTY OF THE
   KING-KHALIFAH AND HIGH PRIEST OF THE ONE TRUE GOD AND

   BENEFICIARIES OF THE CESTUI QUE TRUST OVER THE PLACES OF WORSHIP
   OF THOSE WHO BASE THEIR DOCTRINES UPON THE TEACHINGS OF 'THE

   PROPHETS MOSES/ CHRIST AND MUHAMMAD (PBUT) RESPECTIVELY/
   INDIVIDUALLY AND COLLECTIVELY/ BY "CONTRACT" / BY "COVENANT"

   PROTECTED BY THE 1st. AMENDMENT FREE EXERCISE CLAUSE/ BY ARTICLE

   1 § 10 OF THE U.S. CONSTITUTION AND BY STATE AND FEDERAL PROBATE

   LAW/ AND TO SEEK PRELIMINARY INJUNCTION TO STAY ALL DEPORTATIONS
   UNTIL THE ISSUE OF REPARATIONS FOR THES TRANS-ATLANTIC SLAVE TRADE

   IS HEARD UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT DUE TO THE
   IMMIGRANTS BLOODLINES POSSESSING AFRICAN ORIGINS. ANY LAW WHICH

   IN ITS OPERATION AMOUNTS TO THE DENIAL OR OBSTRUCTION OF RIGHTS
   ACCRUING BY "CONTRACT"/ BY "COVENANT"/ THOUGH PROFESSING TO ACT

   ONLY ON THE REMEDY/ IS VIOLATXVE OF CONSTITUTIONAL INHIBITIONS

   AGAINST LEGISLATIVE/ EXECUTIVE AND OR JUDICIAL IMPAIRING OF
   RIGHTS OF CONTRACT/ SVEEN V. MELIN/ 138 S.Ct. 1815, 201 L.Ed.2<3.

   180, 86 U.S.L.W. 4392(U.S,2018). BY THE ACTIONS OF THE TRUMP
   ADMINISTRATION/ THESE FAR WHITE NATIONALIST DEVILS/ YOUR NATION
   IS IN VIOLATION OF THE TERMS OF THE "GRANT" IN THAT YOUR NATIONS

   WERE PERMITTED TO USE OUR LAWS/ THE LAWS OF THE SOLE CORPORATION
   AND FOREIGN SOVEREIGN CROWN/ GIVEN TO YOU THROUGH GOD AND THE

   PROPHET ABRAHAM/ YOUR CURRENT MORAL CODES TAKEN FROM US/ ONLY IF
   YOU ACTED IN USE OF YOUR GOVERNMENT AUTHORITY WITH "JUSTICE AND

   FAIRNESS". WHAT YOUR NATIONS ARE CURRENTLY ATTEMPTING AGAINST

   THESE IMMIGRANTS/ THE ONES WHO HAVE VIOLATED NO SUBSTANTIAL LAW/

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  DEFIES "JUSTICE AND FAIRNESS" ESTABLISHING CAUSE FOR THE
  FIDUCIARY HEIR TO BRING ACTION AND EVEN RECALL THE "GRANT" GIVEN

  TO YOUR GLOBAL NATIONS IF YOU DO NOT CEASE AND DESIST WITH THESE
  ACTS THAT DEFY "JUSTICE AND FAIRNESS" ALSO BASED UPON ONE OF

  GOD'S PRIMARY LAWS/ "DO NOT OPPRESS THE STRANGER AT THY GATE FOR

  YOU WERE ONCE A SLAVE IN EGYPT"/ SEE EXODUS 22:21; EXODUS 23:9;

  LEVITICUS 19:34 AND DEUTERONOMY 10:19. THE CONTRACT CLAUSE OF THE

  U.S. CONSTITUTION APPLIES TO EVERY KIND OF CONTRACT WHICH
  INCLUDES "GRANTS" THAT ARE INTRINSICALLY A PART OF A "COVENANT"

  AND THE "COVENANT" ITSELF/ AND WHERE IN THIS CASE THERE IS DIRECT

  AND THIRD PARTY OBLIGATION TO ENSURE THAT THE TERMS OF THE
  "CONTRACT"/ THE "COVENANT"/ THE "GRANT" ARE MAINTAINED WITHIN ALL
  GLOBAL NATIONS FOR THE SAKE OF "JUSTICE AND FAIRNESS". THIS

  PHRASE IS SEEN ALL OVER YOUR COURT WALLS AROUND THE NATION
  "JUSTICE AND FAIRNESS" DEMONSTRATING THAT YOUR NATIONS ARE
  CLEARLY AWARE OF THE TERMS OF THE "GRANT" BEING BROUGHT BEFORE

  THE COURTS INVOLVED/ BANK MARKAZI v. PETERSON/ 578 U.S. 212, 136
  S.Cfc. 1310, 194 L.Ed.2d. 463(U.S. 2016); RAFAELI/ LLC. v. OAKLAND

  COUNTY/ 952 N.W.2B. 434, 472 Mich. (2020); GORDON v. T.B.C.
  RENTAL GROUP/ INC./ F.Supp.3d. / 2016 WL 4247738 (DSC.2016) ; DAN

  RYAN BUILDERS/ INC. v. CRYSTAL RIDGE DEVELOPMENT/ INC./ 783 F.3d.
  976, 91 Fed. R. SERV.36. 625(4th.Cir.2015); SEATT'S UNION GOSPEL

  MISSION v. WOODS/—S.Ct.—/ 2022 WL 827849 (MEM) (U.S.2022);
  BEVERLY V. GRAND STRAND REGIONAL MEDICAL CENTER/

  LLC./—S.E.2a.—/ 2022 WL 534191 (S.C.App.2022 } ; ARTHUR ANDERSON
  LLP. v. CARLISLE/ 556 U.S. 624, 129 S.Cfc. 1896, 173 L.Ed.2d.

  832(U.S.2009) . BY THE TRUMP ADMINISTRATION'S ACTIONS THEY ARE
  BURDENING THE OBLIGATION OF THE "CONTRACT"/ THE "COVENANT" THAT

  COMMANDS US NOT TO OPPRESS THE STRANGER AT OUR GATES AND TO ACT
  WITH "JUSTICE AND FAIRNESS" IN THE LOVE AND FEAR OF THE ONE TRUE

  GOD MAKING THEIR ACTIONS AGAINST THE PLACES OF WORSHIP
  UNCONSTITUTIONAL SUBSTANTIALLY BURDENING THE OBLIGATION OF OUR
  RELIGIOUS BELIEFS AND IMPAIRING THE OBLIGATION OF THE CONTRACT.

  WITH REPARATIONS BEING SOUGHT FOR r THE TRANS-ATLANTIC SLAVE TRADE
  AND WHERE AFRICAN BLOOD FLOWS THROUGH THESE MIDDLE EASTERN AND
  LATINO MIGRANTS/ IN LIGHT OF THE FACT THAT YOUR GLOBAL NATIONS

  WOULD NEVER BE ABLE TO PAY MONETARILY -OR PL^ITIVELY ALL THE
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   DAMAGES ACCRUED AGAINST MY PEOPLE/ THE SEEKING TO PROTECT THOSE

    IMMIGRANT RIGHTS AS PART OF REPARATIONS DUE TO THEIR AFRICAN
   ANCESTRY WOULD WARRANT A STAY ON ALL SUCH DEPORTATIONS UNTIL THE
    ISSUE OF THE TRANS-ATLAMTIC SLAVE TRADE WOULD BE PERMITTED TO

   MOVE FORWARD WITHIN THE COURT. THE SEEKING OF REPARATION AND

   OBLIGATION OF COVENANT WOULD REQUIRE THE COURT TAKE IMMEDIATE
   ACTION TO GRANT THE PRELIMINARY INJUNCTIVE RELIEF SOUGHT TO
   MAINTAIN THE STATUS QUO WHILE THE TRIAL IS PERMITTED TO MOVE
   FORWARD/ POINDEXTER V. GREEHOW/ 114 U.S. 270, 5 S.Cfc. 903, 29

   L.Ed. 185(U.S.1885); ALDEN v. MAINE/ 527 U.S. 706, 119 S.Ct.
    2240, 144 L.Ed.2d. 636(U.S.1999); DAVIS v. CANTRELL/ 2018 WL
   6169255, * 6+ E.D.La.; BUILDING AND REALTY INSTITUTION OF

   WESTCHESTER AND PUTNAM COUNTIES/ 2021 WL 4198332/ * 33 S.D.N.Y..


           WHEN AN ACT OF PARLIAMENT OR THE CONGRESS OF THE UNITED
   STATES GOVERNMENT IS AGAINST THE COMMON RIGHT AND REASON/ OR

   REPUGNANT TO THE CONSTITUTION/ OR IS IMPOSSIBLE TO PERFORM IN

   LIGHT OF OUR RELIGIOUS AND CONTRACTUAL OBLIGATIONS/ THE COMMON

   LAW WILL CONTROL IT WHICH IS EVEN SUPERSEDED BY THE ONE TRUE
   GOD'S LAWS/ AND JUDGE SUCH AS VOID. ACCORD TO VAN HORNE'S LESSEE

    v. DORRANCS/ 2 U.S. 304, 316 (F.CAS) 2 DALL 304 (1795). A
   STATUTE/ AND WE CAN ADD/ A LAW OR EXECUTIVE ORDER/ EVEN AS IT
   RELATES TO DEPORTATION/ SHALL NEVER HAVE AN EQUITABLE

   CONSTRUCTION IN ORDER TO OVERTHROW OR DIVEST AN ESTATE OF THE
   GLOBAL BELIEVERS/ OR DENY RIGHTS PROTECTED BY THE CONSTITUTION/
   WHICH IN THIS CASE/ IS ALSO SUPPORTED BY THE F.S.I.A./ ESPECIALLY
   ONE GIVEN BY CLEAR "CONTRACT"/ "COVENANT" OF THE ONE TRUE GOD.

   EVERY STATUTE AND OR LAW/ DEROGATORY TO THE RIGHTS OF PROPERTY/
   WHICH INCLUDE INTELLECTUAL PROPERTY AND ALL RIGHTS PRIVILEGES AND
    IMMUNITIES PROTECTED UNDER THE F.S.I.A./ WHICH .INCLUDES THE
    CHURCHES/ MOSQUES AND SYNAGOGUES WITHIN YOUR GLOBAL NATIONS/ OWED
    BY THE ONE TRUE GOD AND HIS SERVANTS, THE BENEFICIARIES OF THE

    CESTUI QUE TRUST/ AND ALL MATTERS CONTAINED THEREIN PROTECTED BY
    "COVENANT"/ THAT SERVE TO TAKE AWAY THE ESTATE OF CITIZENS OR THE

    RIGHTS/ TITLES/ PRIVILEGES AND IMMUNITIES PROTECTED UNDER THE

    FOREIGN SOVEREIGN IMMUNITY ACT IN THIS INSTANCE/ OUGHT TO BE
    CONSTRUED STRICTLY OR YOU VIOLATE THE CONTRACT/ THE COVENANT

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   RELIED UPON WHICH CANNOT BE MADE OR UNMADE BY THE COURTS OR THIS
   "VILLAGE IDIOT"/ DONALD TRUMP IN HIS FAR ALT RIGHT WHITE

   NATIONALIST AGENDA ACTING IN RACIAL HATRED AND ANIMUS. THE LAW IS

   CLEAR ON THIS ISSUE. CRAWFORD BEING THE STOLEN.CHILD OB* FOREIGN
   SOVEREIGN ETHIOPIAN AFRICAN KINGS VIA THE TRANS-ATLANTIC SLAVE

   TRADE WITH DIRECT TIES TO THE THRONE OF ISRAEL AND THE ISLAMIC
   KHALIFATE CANNOT BE NATURAL IZED BY THE 14TH. AMENDMENT MAKING

   THESE LEGITIMATE "FOREIGN SOVEREIGN IMMUNITY ACT CLAIMS"/ AND NOT

   SOME STUPID/ FRIVOLOUS "SOVEREIGN CITIZEN CLAW WHERE CRAWFORD

   RENOUNCED HIS AMERICAN CITIZENSHIP BEFORE ALL FEDERAL COURTS
   INVOLVED AND ADOPTED THE CITIZENSHIP OF HIS ISRAELI FOREFATHERS/
   KINGS DAVID AND SOLOMON/ AND INVOKED THE ISRAELI LAW OF RETURN.

   CRAWFORD IS FOREIGN SOVEREIGN BY HIS ORIGINAL STATUS AS FOREIGN
   SOVEREIGN VIA THE (3) HOLY BOOKS AND SUNNAH OF THE PROPHET
   MUHAMMAD (PBUH)/ LIVING BINDING "CONTRACTS"/ "COVENANTS"

   ESTABLISHED BY THE ONE TRUE GOD AND HIS HOLY PROPHETS AND KINGS/
   KHLAIPAHS.


           IF THE STATE MAY COMPEL THE SURRENDER OP ONE
   CONSTITUTIONAL RIGHT AS A CONDITION OF ITS PAVOR/ IT MAY/ IN LIKE

   MANNER/ COMPEL THE SURRENDER OF ALL/ TO INCLUDE THE LAWS OF

   NATURE WHICH REFLECT THE LAWS OF THE ONE TRUE GOD OF THE JEWISH/

   CHRISTIAN AND MUSLIM WORLD. CAN MAN CAUSE THE ONE TRUE GOD TO
   SURRENDER HIS RIGHTS AND HIS LAWS GIVEN TO HIS SERVANTS AS
   INHERITANCE? IT IS INCONCEIVABLE THAT GUARANTEES EMBEDDED IN THE
   CONSTITUTION OF THE UNITED STATES/ WHICH INCLUDE THAT ALL

   SOVEREIGN NATIONS ARE ANSWERABLE TO NO ONE BUT GOD/ MAY BE THUS

   MANIPULATED OUT OF EXISTENCE WHICH IN THIS CASE ARE PROTECTED BY
   "CONTRACT"/ BY "COVENANT" SECURED UNDER ARTICLE 1 § 10 OF THE

   U.S. CONSTITUTION/ THE Isfc. AMENDMENT FREE EXERCISE CLAUSE AS

   WELL AS BY STATE AND FEDERAL PROBATE LAW AND ARTICLE IV § 2 Cf.
   PUBLIC LICENSE AND PRIVATE RIGHTS (BARNETT 1953); 33 O.L.R. lOn.

   32 (STATES POWER TO GRANT PRIVILEGES ON ITS OWN CONDITION. IS
   LIMITED/ SO THAT IT MAY NOT THEREBY REQUIRE RELINQUISHMENT OF
   CONSTITUTIONAL RIGHTS). THE GLOBAL BELIEVERS HAVE A FIDUCIARY
   DUTY AND OR DIRECT AND OR THIRD PARTY. OBLIGATION TO PROTECT THE

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  TERMS OF THE CONTRACTS/ COVENANTS/ GRANTS AS HIGHLIGHTED WITHIN
  THE ATTACHMENT FROM BEING WATERED DOWN/ DILUTED/ IGNORED/
  VIOLATED OR ENCROACHED UPON BY ANY OUTSIDE FORCES WHO OPERATE
  WITH NO LOVE OR FEAR OF THE ONE TRUE GOD WHOSE WRATH AND JUDGMENT
  NONE OF YOU/ YOUR COURTS/ OR NATIONS CAN PROTECT US FROM/ WHICH
  WOULD PRODUCE IRREPARABLE INJURY TO OUR VERY SOULS. THE COURTS

  HAVE EXPLAINED/ THE HISTORY OP THE REMEDY CLAUSE INDICATES THAT
  ITS PURPOSE IS TO PROTECT ABSOLUTE COMMON LAW RIGHTS RESPECTING
  PERSON'S PROPERTY/ THEIR DOMAIN/ AND REPUTATION/ WHICH ALLOWING

  THESE CURRENT EVILS PERPETRATED BY THE TRUMP ADMINISTRATION WOULD
  CLEARLY STAIN THE REPUTATION OF THE PLACES OF WORSHIP WHICH WOULD
  BE FURTHER COMPOUNDED IF THE FIDUCIARY HEIR/ KING/ KHALIFAH/ IMAM

  AND NAZARITE HIGH PRIEST OF THE ONE TRUE GOD/ THE FORERUNNER TO
  GOD'S CHRZST/ DID NOT IMMEDIATELY ACT TO PREVENT SUCH ACTS THAT

  DEFY "JUSTICE AND FAIRNESS" TO INCLUDE THOSE TAKEN AGAINST THE

  BENEFICIARIES OF THE CESTUI QUE TRUST SUCH AS MAHMOUD KHALIL AND
  OTHER BELIEVING IMMIGRANTS. THESE RIGHTS ALSO BEING PROTECTED
  UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT BY THE EMERGENCE OF THE

  FOREIGN SOVEREIGN FIDUCIARY HEIR/ KING/ KHALIFAH/ IMAM AND
  NAZARITE HIGH PRIEST OF THE ONE TRUE GOD. THE COURT HAS STATED

  THAT THE GUARANTEE OF REMEDY BY DUE PROCESS LAW FOR INJURY TO
  PERSONS/ PROPERTY AND REPUTATION/ "IS ONE OF THE MOST SACRED AND

  ESSENTIAL OF ALL THE CONSTITUTIONAL GUARANTEES" AND WITHOUT IT A
  FREE GOVERNMENT CANNOT BE MAINTAINED OR INDIVIDUAL LIBERTY
  PRESERVED. THIS NATION FORMALLY RECOGNIZES THE STATES OF ISRAEL/

  THE VATICAN/ ETHIOPIA AS FOREIGN SOVEREIGN NATIONS? BY SUCH/
  SUPPORTED BY THE LITIGATION PRESENTED/ THE COURT MUST ALSO
  FORMALLY RECOGNIZE "THE BRANCH"/ "THE ELIJAH"/ "THE MAHDI" THE

  FOREIGN SOVEREIGN OF RELIGIOUS PROPHESY WHO IS FOREIGN SOVEREIGN
  BY HIS ORIGINAL STATUS AS FOREIGN SOVEREIGN ESTABLISHED BY
  CONTRACT/ BY COVENANT PURSUANT TO THE (3) HOLY BOOKS OF THE (3)
  MAINSTREAM RELIGIONS AND SUNNAH OF THE PROPHET MUHAMMAD (PBUH)/
  ALSO ESTABLISHED AS THE "LAST WILL AND TESTAMENT" OF THE ONE TRUE

  GOD AND HIS HOLY PROPHETS/ KINGS/ HIGH PRIEST/ THE MEMBERS OF THE

  SOLE CORPORATION AND FOREIGN SOVEREIGN CROWN/ SMOTHERS V. GRESHAM

  TRANSFER INC./ 332 Or. 83, 23 P.3d. 333(2001); GEARIN v. MARION

  COUNTY/ 110 Or. 390, 396, 233 P. 929; WORLEY V. ISLAMIC REPUBLIC

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  OF IRAN/ 75 F.Supp.Sd. 311 (D.D.C.2014); ZIVOTOFSKY EX REL
  ZIVOTOFSKY v. KERRY/ 576 U.S. I/ 135 S.Ct. 2076(U.S.2015 ) ; ROTH

  V. ISLAMIC REPUBLIC OB' IRAN/ 78 F.Supp.Sd. 379(D.D.C.2015); PEELE
  v. WILLIFORD, 2019 WL 13243004 (E.D.N.C.2019).


          THE FOREIGN SOVEREIGN POWER IN THE FORM OF THE BRANCH OF
  JEWISH PROPHESY/ THE ELIJAH OF CHRISTIAN PROPHESY/ THE MAHDI OF

  ISLAMIC PROPHESY/ THE FIDUCIARY HEIR/ KING/ KHALIFAH AND HIGH
  PRIEST OF THE ONE TRUE GOD HAS PARAMOUNT RIGHT TO PROTECT THE

  LIVES/ HEALTH/ MORALS/ COMFORT AND GENERAL WELFARE OF THE

  SERVANTS/. PEOPLE/ OF THE ONE TRUE GOD/ THE BENEFICIARIES OF THE
  CESTUI QUE TRUST AND THE RE-ESTABLISHED GLOBAL THEOCRATIC STATE

  THAT MAKE UP THE KINGDOM OF IRON MIXED WITH MIRY CLAY FORETOLD BY
  THE ONE TRUE GOD AND HIS HOLY PROPHETS. THAT WHICH IS WRITTEN BY
  THE ONE TRUE GOD AND HIS HOLY PROPHETS CANNOT BE BROKEN. SEE JOHN

  10:35 MEANING THAT THE WORD OF GOD IS ABSOLUTE AND CANNOT BE
  ALTERED OR DISREGARDED. ALSO SEE HOME BLDG. & LOAN ASS'N V.
  BLAISDELL/ 290 U.S. 398, 54 S. Ct . 231, 88 A.L.R. 1481, 78 L.Ed.

  413(U.S.1934). THE CHURCHES/ MOSQUES AND SYNAGOGUES WITHIN YOUR

  GLOBAL NATIONS ARE MINE TO PROTECT/ EVEN ABOVE THE POPE HIMSELF/

  TO PURGE THEM FOR THE COMING OF CHRIST BY FIDUCIARY DUTY AND
  CONTRACTUAL OBLIGATION WHICH INCLUDE THE FIDUCIARY DUTY AND

  CONTRACTUAL OBLIGATION TO PROTECT THE BENEFICIARIES OF THE CESTUI
  QUE TRUST FROM ANY OF YOUR LAWS OR ACTIONS THAT DEFY "JUSTICE AND
  FAIRNESS" AS ASSESSED BY THE 'FOREIGN SOVEREIGN FIDUCIARY HEIR/

  KING/ A MEMBER OF THE SOLE CORPORATION AND FOREIGN SOVEREIGN
  CROWN/ ELLIOTT V. BOARD OF SCHOOL TRUSTEES OF MADISON

   CONSOLIDATED SCHOOLS/—F.3d.—/ 2017 WL 5988226 (7th.Cir.2017);
  NORTH CAROLINA ASS'N OF EDUCATORS/ INC. V. STATE/ 368 N.C. 777,
   786 S.E.2B. 255 (N.C.2016); SPIRES V. SCHOOLS/--F.Supp.3d.—/

   2017 WL 4174774 (DSC.2017); FIFTH THIRD BANCORP v. DUDENHOEE'FER/
   132 S.Cfc. 2469, 189 L.Ed.2d. 457, 82 U.S.L.W. 4578 (U.S.2014);

   PEREZ V. CHIMES DISTRICT OF COLUMBIA/ INC./ F.Supp.Sd./ 2016 WL
   6124679(D.C.Md.2016).


          THE GOVERNMENT MAY NOT EXCLUDE A PERSON FROM PRACTICE OF

   LAW/ AS THE LAWGIVER OF THE ONE TRUE GOD/ ESTABLISHED BY

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   CONTRACT/ COVENANT/ OR ANY OTHER OCCUPATION (KING-KHALIFAH-HIGH
   PRIEST) IN A MANNER FOR REASONS THAT CONTRAVENE THE DUE PROCESS
   OR EQUAL PROTECTION OF THE LAWS CLAUSES OF THE 14TH. AMENDMENT.
   THE GOVERNMENT CANNOT PREVENT THE RIGHTS OF OUT OF STATE CITIZENS
   UNDER THE PRIVILEGE AND IMMUNITIES CLAUSE TO PROTECT THE RIGHTS
   OF BELIEVERS AS THEY RELATE TO THE PLACES OF WORSHIP OF THE ONE
   TRUE GOD/ TO PLY THEIR TRADE/ PRACTICE THEIR RELIGIOUS

   OCCUPATIONS WITH ALL DUTIES/ RESPONSIBILITIES AND RIGHTS
   CONTAINED THEREIN/ OR TO PURSUE A COMMON CALLING IMPAIRING THOSE
   RIGHTS FOR PROTECTORATE REASONS. THUS/ THE CRAWFORD RIGHT TO

   INTERVENE TO ESTABLISH ALL RIGHTS/ TITLES/ PRIVILEGES AND

   IMMUNITIES ALSO UNDER THE FOREIGN SOVEREIGN IMMUNITY ACT IS
   ESTABLISHED/ SCHWARE V. BOARD OF EXAM OF STATE OF N.M./ 353 U.S.
   232, 77 S.Cfc. 752/ 64 A.L.R.26. 288, 1 L.Ed.2d. 796(U.S.1957) ;

   FACIRE v. SULLIVAN/ 2017 WL 3710066 (D.C.Nev.2017); VIRGINIA

   BOARD OF MEDICINE V. ZACKRISON/ 67 Va.App. 461 / 796 S.E.2d.

   866(2017); DOE v^__ROGERS/ 139 F.Supp.3(3. 120 (D.D.C . 2015 ) ; BOLLS
   v. VIRGINIA BD. OF BAR EXAMINERS/ • 811 F.Supp.2d.

   1260(E.D.Va.201l); McBURNEY v. YOUNG/ 569 U.S. 221, 133 S.Ct.
   1709, 185 L.Ed.2d. 758(U.S.2013); HONEY v. VERMONT/ 2017 WL

   2167123 (2017); SCHOENEFELD v. SCHNEIDERMAN/ 821 F.BB. 273
   (2nd.Cir.2016); ALT. v. U.S. E.P.A./ 758 F.3d. 588

   (4th.Cir.2014); MIDDLETON v. ANDINO/ 481 F.Supp.3d.
   563(DSC.20205; AMERICAN COLLEGE OF OBSTRICIANS AND GYNECOLOGIST
   V. U.S. FOOD AND DRUG ADMINISTRATION/ 467 F.Supp.3d. 282

   (D.Md.2020).


           "HAERES EST EADEM PERSONA COM ANCESSORE"—-THE HEIR IS THE
   SAME PERSON AS HIS ANCESTOR (PROBATE LAW). THIS IS NOT AN
   IMPLAUSIBLE OR UNREASONABLE POSITION OR LEGAL PRINCIPLE UNDER THE
   LAWS OF PROBATE AND BY THE TERMS OF THE "CONTRACT"/ "COVENANT"

   RELIED UPON AND THE EXISTENCE OF THE SOLE CORPORATION AND FOREIGN
   SOVEREIGN CROWN THAT EXISTED THOUSANDS OF YEARS BEFORE THIS
   NATION WAS FORMED PRODUCING FIDUCIARY DUTY AND CONTRACTUAL

   OBLIGATION AS THUS STATED. THIS IS CONFIRMED BY THE RECENT

   MANIFESTATIONS OF RELIGIOUS PROPHESY/ ACTS OF GOD/ THAT CONFIRM
   THAT CRAWFORD IS WHO HE CLAIMS TO BE IN THE FORM OF ISRAEL'S

   DESTRUCTION OF GAZA/ PALESTINE/ FORETOLD IN THE BOOK OF ISAIAH

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   14:29-32 THAT ALSO HIGHLIGHT "THE COCKATRICE AND SMOKE FROM THE
   NORTH" PROPHESYING WHERE THIS MAN WOULD BE BORN/ ie JERSEY CITY,

   NEW JERSEY IN THE NORTH/ AND IN THE FORM OF THE CELESTIAL SIGN OF
   THE LUNAR AND SOLAR ECLIPSE OCCURRING RAMADAN OF 2024, A SIGN
   THAT HAS NOT BEEN SEEN IN OVER 150 YEARS THAT THE PROPHET
   MUHAMMAD (PBUH) OF ISLAM CONFIRMED WOULD APPEAR HERALDING MY
   EMERGENCE BEFORE MANKIND. UNLESS THE HONORABLE NEW JERSEY

   DISTRICT COURT CAN DETERMINE THESE MANIFESTATIONS OF RELIGIOUS
   PROPHESY DID NOT OCCUR? THERE CAN BE NO LEGITIMATE CLAIM OF

   BASELESS/ MERITLESS OR FRIVOLOUS. THE COURT MUST DETERMINE IF
   THERE IS A "CONTRACT"/ "COVENANT" RELIED UPON AS IS ARGUED WITHIN

   THE ATTACHMENTS/ ILLINOIS PNEUMATIC GAS CO. V. BERRY/ 113 O.S-
   322; SEVERS v, HOLLEY/ 537 U.S           ; BANK OF MARKAZI V. P£:T't3RSON

   SUPRA.; DEE^TON v. HERNANDE2 / 504 U.S. 25, 33 (U.S.1992); FOX v.
   VICE/ 663 U.S. 826, 131 S..Ct. 2205(U.S . 2011) .




                                                 RESPECTFULLY/

                                                 JONAH THE TISHBITE




   APRIL 28, 2025




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